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                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MASSACHUSETTS

In re:
TOP LINE GRANITE DESIGN INC. 1                            Case No. 22-40216 (EDK)

                                                          Chapter 11
                                  Debtor.

         DEBTOR’S MOTION FOR ORDER (i) AUTHORIZING THE DEBTOR TO
         OBTAIN POSTPETITION FINANCING, (ii) GRANTING SUPERPRIORITY
         CLAIM, SECURITY INTEREST, AND PRIMIMG FIRST PRIORITY LIEN
           TO THE DIP LENDER, AND (iii) SCHEDULING A FINAL HEARING

                                Emergency Determination Requested

         Top Line Granite Design Inc., a debtor in possession (the “Debtor”) hereby moves this

Court for entry of interim and final orders (the “DIP Orders”) (i) authorizing the Debtor to

obtain post-petition financing from Legalist, Inc., as investment adviser and DIP lender (the

“DIP Lender”) on an interim basis in an amount up to $400,000.00 and on a final basis in the

aggregate committed amount of up to $1,000,000.00 (“DIP Financing”), (ii) granting super-

priority claim, security interest, and priming first priority lien, pursuant to section 364(c)(2) and

(3) and section 364(d) of the Bankruptcy Code, to the DIP Lender on all existing and after-

acquired assets of the Debtor, including new inventory to be purchased with the funds from the

DIP Financing and proceeds thereof (the “DIP Lien”). A copy of the proposed Debtor-in-

Possession Term Loan Credit Agreement between the Debtor and the DIP Lender is attached to

this motion (this “Motion”) as Exhibit A (as may be amended and in effect from time to time,

the “DIP Credit Agreement”). 2


1
  A/k/a Design Top Line Granite, and aka Top Line Granite Design. The Debtor’s name was changed from Brazil
Stones Inc. in November 2005.
2
  Capitalized terms used herein and not otherwise defined shall have the meanings set forth in the DIP Credit
Agreement.
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       The Debtor’s status conference is currently scheduled for May 18, 2022; the Debtor

requests that the interim hearing on this Motion be held on May 18, 2022. In support of this

Motion, the Debtor states as follows:

                                         JURISDICTION

       1.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

       2.      Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory bases for relief requested herein are sections 105, 361, 362, 363,

364, 503, and 507 of Title 11 of the United States Code (the “Bankruptcy Code”); Rules 2002,

4001, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”);

and MLBR 4001-2, and 9013-1(g).

                     EMERGENCY DETERMINATION REQUESTED

       4.      Pursuant to MLBR 9013-1(g), the Debtor requests for an emergency hearing on

the Motion. In order to maintain the viability of its business, as discussed below, the Debtor

needs additional working capital to purchase supplies and materials in order to start on new

projects and to keep the ongoing relationships with its customers. As further discussed below,

due to pre-petition collection actions of certain cash money lenders and the bankruptcy filing, it

is much harder for the Debtor to collect from commercial customers the generally required down

payment or deposit before starting a new project. Therefore, the Debtor has no other option but

to finance the beginning of its new projects in order to keep them. Most of the supplies and

materials are manufactured and sourced overseas (such as Malaysia, Taiwan, Vietnam, Brazil,

and India) which requires a manufacturing period of four to five weeks after submitting the

deposit for the materials. There is also another four to five weeks of freight transit for the Debtor




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to receive the needed materials and start the fabrication for the job. The Debtor currently has

several projects, as listed below and in the budget attached to the DIP Credit Agreement, with

start dates of June through August 2022 that would require such advanced planning.

       5.      Pursuant to Bankruptcy Rule 4001(c) and MLBR 4001-2(e)(2), the Court may

conduct a preliminary hearing, pending a final hearing, on DIP financing motions such as this

one to the extent necessary to avoid immediate and irreparable harm. The Debtor requests that

such interim hearing be held on an emergency basis and seeks immediate authority to borrow

funds from the DIP Lender as set forth in the Motion to prevent immediate and irreparable harm

to the Debtor’s estate pending a final hearing. Without this DIP Financing, the Debtor will not

be able to meet its commitments on certain critical projects this summer which would have a

lasting negative impact on the Debtor’s operations and future work estimates.

       6.      Pursuant to MLBR 9013-1(g)(1)(C), the Debtor has made a reasonable good faith

effort to advise the U.S. Trustee’s office, the Subchapter V trustee, counsel to Avidia Bank, and

counsel to Enterprise Bank & Trust Company of the substance of the Motion for relief, and the

request for an emergency determination, prior to filing the Motion. A draft of this Motion was

shared with such party on Thursday, May 12, 2022.

                                        BACKGROUND

A. Procedural

       7.      On March 25, 2022 (the “Petition Date”), the Debtor commenced this proceeding

by filing a voluntary petition for relief pursuant to chapter 11 of the Bankruptcy Code, as a small

business Subchapter V debtor.

       8.      Pursuant to sections 1107 and 1108 of the Bankruptcy Code, the Debtor continues

to manage and operate its business as a debtor-in-possession.

       9.      On March 28, 2022, the Court appointed Steven Weiss as the Subchapter V


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trustee.

           10.      The Debtor incorporates by reference the factual background discussed in its

motion for interim and final orders (A) authorizing use of cash collateral, (B) granting post-

petition replacement liens as adequate protection, and (C) scheduling a final hearing, filed with

the Court on March 30, 2022 [Doc. No. 16] (the “Cash Collateral Motion”).

           11.      On or about April 11-12, 2022, the Debtor filed its bankruptcy schedules and

statement of financial affairs (as may be amended) (the “Schedules”).

           12.      On April 29, 2022, pursuant to the Cash Collateral Motion, the Court entered an

Order Authorizing Final Use of Cash Collateral [Doc. No. 66] (the “Cash Collateral Order”).

The continued hearing on the Cash Collateral Motion is scheduled for June 24, 2022.

           13.      On May 4, 2022, the Debtor filed the Section 1188(c) Status Conference Report

[Doc. No. 72]. The status conference hearing is scheduled for May 18, 2022.

B. Pre-petition Secured Claims

           14.      As discussed in the Cash Collateral Motion and the Schedules, the Debtor’s

secured creditors, not including cash money lenders, with unexpired UCC-1 financing statements

are as follows (the “Senior Claims”).

Secured Creditors/                          Claim Amount              Security Interest                  Listed Collateral
Lienholders 3                               (approx.)

Enterprise Bank and Trust                   $23,936.00                UCC statement filed                All assets
Company (2007 loan                                                    3/16/2007 (amended
agreement)                                                            2/7/22)
Avidia Bank (equipment loan)                $1,086,438.00             Security Agreement                 Substantially all assets
Term Note dated 8/28/19                                                                                  of the Debtor
                                                                      UCC statement filed
                                                                      8/28/19

3
  The Debtor has not determined the extent, priority or validity of any of the prepetition liens asserted against assets of the
Debtor or any claims of any creditors. The discussion of liens and claims in this motion is for descriptive purposes only. The
Debtor hereby reserves all of its rights, claims and defenses in this respect.




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Avidia Bank (inventory loan/      $1,455,643.00       Security Agreement        Substantially all assets
revolving line of credit)                                                       of the Debtor
Revolving Demand Note                                 UCC statement filed
dated 8/28/19                                         8/28/19
ENG Commercial Finance            $317,387.00                                   Equipment loan
2020 (loan agreement)                                 UCC statement filed
                                                      10/8/20
US Small Business                 $500,000.00         Security Agreement        Substantially all assets
Administration (loan                                                            of the Debtor
agreement dated 1/6/2021 and                          UCC statement filed
amended 8/2/21)                                       1/20/21
Total                             $3,383,404.00

       15.     The Senior Claims do not include the guaranty claims of Avidia Bank, and Bay

Colony Development Corp. (SBA loan) totaling approximately $4,000,000 (the “Guaranty

Claims”). The primary obligor related to the Guaranty Claims is 347 Middlesex Road Realty

Trust (the “Trust”). The Trust owns the real property where the Debtor operates its business,

namely 347 Middlesex Rd. Tyngsboro, MA.

       16.     In addition to the Senior Claims listed above, several other cash money lenders, as

discussed in the Cash Collateral Motion, filed UCC-1 financing statements against assets of the

Debtor with such claims totaling approximately $1,200,000.00. As discussed in the Cash

Collateral Motion, the Debtor believes that as of the Petition Date such creditors may be

undersecured or wholly unsecured, and the holders of the Senior Claims did not subordinate their

liens with respect to the cash money lenders. The Debtor also listed the claims of the cash money

lenders as disputed on its Schedule D.

       17.     In connection with the Cash Collateral Motion, the Debtor proposed and the Court

granted pursuant to the Cash Collateral Order (i) as adequate protection, that the Senior Claims

and other secured creditors (the “Lienholders”) be granted certain post-petition replacement

liens and security interests in property of the Debtor’s estate to the extent the Lienholders held

validly perfected liens and security interests as of the Petition Date (“Post-petition Liens”), and


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(ii) as further adequate protection, to the extent funds are available, monthly payments to the

Senior Claims (the “Adequate Protection Payment”).

                      STATEMENT UNDER BANKRUPTCY RULE 4001

       18.       Pursuant to Bankruptcy Rule 4001(c), applicable material provisions of the DIP

Financing are set forth below. The relevant sections of the DIP Credit Agreement are also

indicated below:

Total Dollar              $1,000,000.00 aggregate maximum DIP commitment. Upon entry of the
Amount/ Maximum           interim DIP Order but prior to the entry of the final DIP Order, the
Borrowing Available       Debtor shall be permitted to draw at least $400,000.00 as set forth in the
                          budget attached to the DIP Credit Agreement. See Recitals and Section
                          3.01 of DIP Credit Agreement; Parag 2 of the proposed interim DIP
                          Order.

Interest Rate;            Interest shall accrue from the Effective Date at the U.S. prime rate
Default Interest          (subject to a 4.00% floor) plus 9.9% per year.
                          Default rate is an additional 4.75% in interest per year. See Section 2.04
                          of DIP Credit Agreement.
Other Costs of            Commitment fee of 2.75% of the DIP commitment (payable on maturity
Borrowing                 date).
                          Underwriting fee of 1.75% of the DIP commitment (payable on maturity
                          date).
                          Monitoring fee of 1/75% of the DIP commitment (accruing per year and
                          due on maturity date).
                          Undrawn line fee of 4/75% per year for any undrawn portion of the DIP
                          commitment.
                          The Debtor shall pay, no later than the maturity date, all DIP Lender
                          Expenses (defined below).
                          See Sections 2.04, 2.05, and 11.03 of DIP Credit Agreement.
Prepayments               The DIP Loans shall be mandatorily repaid from, and within 10 days of
                          the Debtor’s receipt of, proceeds from any sale or other disposition of
                          DIP Collateral, not including sale of the Debtor’s inventory in ordinary
                          course.
                          The DIP Loans may be voluntarily repaid prior to the Maturity Date
                          beginning 180 days after the Effective Date; provided that voluntary
                          repayments made within 270 days of the Effective Date shall be subject


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                     to a “Makewhole Fee” of 4.75% of the amount repaid.
Maturity Date        Maturity Date means the earliest to occur of (w) two years after the
                     Effective Date of the first DIP Draw, (x) the entry of final decree in the
                     case, (y) repayment in full of all outstanding DIP Loans, and (z) the
                     acceleration of the DIP Loans following an Event of Default.

                     See Article I of DIP Credit Agreement.
Events of Default    Events of default include (i) any failure to pay the DIP Lender Expenses
                     (defined below) and any other DIP Obligations, and (ii) granting of any
                     Lien on any DIP Collateral.
                     See Article VIII of DIP Credit Agreement.
Use of Funds and
Limitations.         The proceeds of the DIP Loans shall be used by the Debtor as working
                     capital and for operating expenses, including to pay DIP Obligations as
                     set forth in the DIP Credit Agreement and amounts permitted under the
                     budget attached to the DIP Credit Agreement.
                     See Section 2.02 of DIP Credit Agreement.
DIP Lien / DIP       “DIP Claims” means “superpriority” administrative-expense claims with
Collateral           priority over all pre- and post-petition claims against the Debtor, other
                     than administrative expenses for estate professional fees and other
                     administrative expenses in the Case. The DIP Liens shall be
                     automatically perfected without reference to any notice or recordation
                     requirements of non-bankruptcy law.

                      The DIP Liens shall comprise:

                      (i) Pursuant to Bankruptcy Code section 364(c)(2), an automatically
                      perfected, senior DIP Lien on all DIP Collateral not subject to Existing
                      Liens;

                      (ii) Pursuant to Bankruptcy Code section 364(c)(3), an automatically
                      perfected, junior DIP Liens on all DIP Collateral subject to Existing
                      Liens;

                      (iii) Pursuant to Bankruptcy Code section 364(d)(1), an automatically
                      perfected, equal DIP Liens on all DIP Collateral subject to Existing
                      Liens; and

                      (iv) Pursuant to Bankruptcy Code section 364(d)(1), an automatically
                      perfected, senior DIP Liens on all DIP Collateral subject to Existing
                      Liens.

                     DIP Collateral means all assets and properties, whether real, personal,
                     intellectual, or otherwise, whether tangible or intangible, whether


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                                 domestic, foreign, or international, that the Debtor now owns or
                                 hereafter acquires, or to or in which the Debtor, now or in the future,
                                 holds any right, title, or interest (whether fixed, contingent, inchoate, or
                                 otherwise), expressly excluding (i) all Avoidance Actions, together with
                                 (in each case) all proceeds thereof, and (ii) any financed automobile for
                                 which the Debtor has no equity. DIP Collateral shall include any other
                                 litigation proceeds; provided that such proceeds may be used for
                                 distributions or payments to creditors under the chapter 11 plan of the
                                 Debtor with the consent of the DIP Lender.
                                  See Sections 10.02 and 10.03 of DIP Credit Agreement.
Break-up Fee                     According to the term sheet related to the DIP Credit Agreement, in the
                                 event that, after execution of the term sheet, the DIP Loan transaction
                                 should not be timely effected for any reason, other than (i) the
                                 Bankruptcy Court denying approval of the DIP Loans, or (ii) the DIP
                                 Lender declining to provide the DIP Commitment to the Debtor, then
                                 the DIP Lender shall immediately (and without any further action or
                                 notice) be entitled to a fee of 4.75% of the DIP Commitment (the
                                 “Break-Up Fee”). 4 There shall be no Break-Up Fee in the event that
                                 the transaction described herein closes.


          19.       The above summary of material provisions of the DIP Financing is intended

solely to give the Court and interested parties an overview of the proposed transaction.

Interested parties should refer to the DIP Credit Agreement and this Motion for the complete

terms thereof.

          20.       In addition, the provisions described in Bankruptcy Rule 4001(c)(1)(B)(i)-(xi) are

set forth or discussed below:

          i.        Grant of Priority or a Lien on Property of the Estate. As mentioned above, the
                    DIP Lien is a super-priority lien pursuant to sections 364(c) and (d) of the
                    Bankruptcy Code. See Sections 10.02 and 10.03 of DIP Credit Agreement.

          ii.       Adequate Protection for a Secured Claim that Arose before the Petition Date. As
                    discussed below, the Debtor’s Lienholders, including those with Senior Claims
                    have the benefit of certain Post-petition Liens. Also, the Senior Claims would
                    now more likely receive Adequate Protection Payments from the Debtor if

4
  The Debtor acknowledges that the Break-Up Fee is intended to be an actual, necessary cost and/or expense of preserving its
estate and, thus, entitled to priority under Bankruptcy Code section 503(b). The Break-Up Fee, together with all costs of
collection, shall be due and payable (if applicable) from and after execution of this Term Sheet by the Debtor, irrespective of the
occurrence of the Effective Date.




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                 working capital is made available to the Debtor so that the Debtor can meet its
                 commitments on projects for its customers and ultimately create more accounts
                 receivable. The Debtor believes that the security interests of the Lienholders,
                 including with respect to the Senior Claims, will not diminish by virtue of the
                 Court approving the DIP Financing and the DIP Lien.

        iii.     Determination of the Validity, Enforceability, Priority, or Amount of a Secured
                 Claim that Arose before the Petition Date. This Motion and DIP Credit
                 Agreement do not address such provision.

        iv.      Waiver or Modification of the Automatic Stay. Pursuant to the DIP Credit
                 Agreement, while any event of default has occurred and is continuing, the DIP
                 Lender may move or apply to the Court for entry of an order terminating the
                 automatic stay with respect to any DIP Collateral. See Section 8.02(b)(i) of the
                 DIP Credit Agreement.

        v.       Waiver of Right Regarding Filing of Plan and/or to Request Authority to Obtain
                 Credit from Others. Pursuant to the DIP Credit Agreement, except as set forth
                 therein, the Debtor shall not (directly or indirectly) incur, create, or permit to exist
                 any administrative-expense claim, expense, or cost (x) with priority senior or
                 equal to the DIP Claims or (y) not expressly contemplated by the budget attached
                 to the DIP Credit Agreement. See Section 6.03 of the DIP Credit Agreement.

                 An event of default may include an order of the Court (i) approving any secured
                 credit or debt other than the DIP Loans, and (ii) approving any administrative-
                 expense claim with priority of payment senior or equal to the DIP Claims, except
                 as permitted. See Section 8.01 (iii)(D) and (E) of the DIP Credit Agreement.

        vi.      Plan Related Deadlines. This Motion and DIP Credit Agreement do not address
                 such provision.

        vii.     Waiver Relating to Non-bankruptcy Law. Pursuant to the DIP Credit Agreement,
                 the Debtor (x) covenants that it will not at any time in any manner whatsoever
                 claim or take the benefit or advantage of any stay, extension, or usury law
                 (wherever enacted) 5 that may affect the performance in full of the DIP Credit
                 Agreement, and (y) expressly waives the benefit of all such laws, to the extent
                 permitted by applicable law. See Section 5.13 of the DIP Credit Agreement.

                 Under the DIP Credit Agreement, any claim of unenforceability, force majeure, or
                 other claim and/or defense related to certain unforeseeable circumstances is
                 expressly waived. See Section 11.13 of the DIP Credit Agreement.


5
  Notwithstanding anything to the contrary in the DIP Credit Agreement, in no event shall the amount of interest and
other charges for the use of money payable under the agreement exceed the maximum amounts permissible under
any law that a court of competent jurisdiction shall, in a final and non-appealable order, deem applicable. See
Section 11.12 of the DIP Credit Agreement.



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       viii.   Release, Waiver, or Limitation on any Claim or Cause of Action Belonging to the
               Estate. DIP Collateral shall include litigation proceeds, other than Avoidance
               Actions; provided that such proceeds may be used for distributions or payments to
               creditors under the chapter 11 plan of the Debtor with the consent of the DIP
               Lender. See Section 1.01 of the DIP Credit Agreement (DIP Collateral).

       ix.     Indemnification of Any Entity. The Debtor shall indemnify the DIP Lender and its
               Affiliates and others (each an “Indemnified Person”) harmless from, all
               liabilities, obligations, losses, damages, penalties, claims, actions, causes of
               action, judgments, suits, costs, expenses, fees, and disbursements, of any kind or
               nature whatsoever, whether direct, indirect, special, exemplary, or consequential
               and whether based on federal, state, foreign, or international laws, statutes, rules,
               or regulations, that may be imposed on, incurred by, or asserted against such
               Indemnified Person, in any way arising from, in connection with, or relating to
               any DIP Loan Document, the transactions contemplated thereby, or any action
               taken or not taken in connection therewith (collectively, the “Indemnified
               Liabilities”); provided that such indemnity shall not be available to an
               Indemnified Person to the extent that any Indemnified Liability was a direct
               result, as determined by a court of competent jurisdiction, in a final and non-
               appealable order, of the gross negligence or willful misconduct of such
               Indemnified Person. The Debtor’s payment obligations with respect to any
               Indemnified Liability shall constitute DIP Obligations for all purposes, and each
               Indemnified Person not a Party shall be a third-party beneficiary of this
               Agreement for purposes enforcing such obligations. See Section 7.01 of the DIP
               Credit Agreement.

       x.      Release, Waiver or Limitation on Rights under Section 506(c). An event of
               default under the DIP Credit Agreement includes any order surcharging, under
               Bankruptcy Code section 506(c) or otherwise, any DIP Collateral in any amount.
               See Section 8.01(iii)(C) of the DIP Credit Agreement.

       xi.     Liens Granted on Claims Arising Under Chapter 5. None. DIP Collateral and
               DIP Liens excludes all Avoidance Actions. See Section 10.02 of the DIP Credit
               Agreement.

                            STATEMENT UNDER MLBR 4001-2

       21.     The following provisions set forth additional information required to be disclosed

pursuant to MLBR 4001-2(a), as applicable, to the extend not already set forth above:

       (a)     Loan Funding Amount. See Paragraph 18 above.

       (b)     Use of Funds. See Paragraph 18 above.

       (c)     Proposed Budget for Use of Funds. Attached to the DIP Credit Agreement is
               such proposed budget.



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       (d)   Pricing and Economic Terms. See Paragraph 18 above.

       (e)   Adequacy of Budget to Pay Administrative Expenses. The Debtor expects to pay
             its administrative expenses pursuant to the budget attached to the Cash Collateral
             Order. With the additional funding from the DIP Financing, the Debtor expects to
             have sufficient funds to continue paying accrued and accruing administrative
             expenses.

       (f)   Prepetition Secured Creditors with Interests in Collateral. Such claims are
             currently listed above and in the Debtor’s Schedule D, totaling approximately
             $5,000,000.00 including the cash money lenders and certain automobile loans.

       (g)   Value of Collateral Securing Prepetition Creditors’ Interests. Based on Schedule
             A/B, the Debtor estimates the book value of the existing collateral to be
             approximately $4,800,000. Liquidation value of such collateral is expected to be
             lower.

       (h)   Adequate Protection to the Pre-petition Secured Creditors. Such issue has been
             addressed separately in the case pursuant to the Cash Collateral Order. See
             Paragraph 17 above.

       (i)   Choice of Law Provision. The DIP Credit Agreement and related documents shall
             be governed by the Bankruptcy Code and, to the extent not preempted thereby,
             New York state law. See Section 11.08 of the DIP Credit Agreement.

       22.    The Debtor believes that the following provisions of the DIP Credit Agreement

must be highlighted pursuant to MLBR 4001-2(c).

       (a)   Waivers. As discussed above, an event of default under the DIP Credit Agreement
             includes any order surcharging, under Bankruptcy Code section 506(c) or
             otherwise, any DIP Collateral in any amount. See Section 8.01(iii)(C) of the DIP
             Credit Agreement. MLBR 4001-2(c) (4)

       (b)   Right to Relief from Stay. As discussed above, upon default, the DIP Lender may
             move or apply to the Court for entry of an order terminating the automatic stay
             with respect to any DIP Collateral. See Section 8.02(b) (i) of the DIP Credit
             Agreement. MLBR 4001-2(c) (5)

       (c)   Non-consensual Priming: The DIP Credit Agreement has provisions that create a
             lien senior to existing liens without the consent of existing lienholders. The DIP
             Lien will be senior to all obligations of the Debtor. As such, the DIP Lien is a
             priming lien with respect to liens currently held by prepetition secured creditors,
             including the Senior Claims. See Article 10 of the DIP Credit Agreement. MLBR
             4001-2(c) (7)

      (d )   Waiver of Right Regarding Authority to Obtain Credit From Others: Under the
             DIP Credit Agreement, the Debtor shall not obtain (i) any secured credit or debt


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               other than the DIP Loans, and (ii) any administrative-expense claim with priority
               of payment senior or equal to the DIP Claims, except as permitted. See Section
               8.01 (iii)(D) and (E) of the DIP Credit Agreement; Section 6.03 of the DIP Credit
               Agreement. MLBR 4001-2(c)(9).

      (e)      Payment of DIP Lender’s Expenses: Under the DIP Credit Agreement, the Debtor
               agreed to pay all reasonable costs and expenses of the DIP Lender incurred in
               connection with, arising from, or relating to this Agreement and the DIP Loan
               Documents, and any exercise of rights or remedies thereunder, whether before or
               after the date hereof and irrespective of the occurrence of any default or Event of
               Default, including (without limitation) all costs of in house counsel, advisers, and
               consultants of DIP Lender, together all fees, expenses, and disbursements of
               outside counsel or other advisers and consultants retained by the DIP Lender with
               respect thereto (collectively, the “DIP Lender Expenses”), which shall constitute
               DIP Obligations for all purposes hereunder. Such payments would be paid by the
               Debtor without any notice or review by the Court and the U.S. Trustee’s Office.
               See Section 11.03 of the DIP Credit Agreement MLBR 4001-2(c) (12)

       (f)     Termination; Default; Remedies: An event of default under the DIP Credit
               Agreement may be caused (i) by the entry of an order granting relief from the
               automatic stay, under Bankruptcy Code section 362 or otherwise, to any party,
               other than the DIP Lender, with respect to any DIP Collateral, and (ii) by the
               filing of any motion by a party in interest seeking certain relief in Section 8.01(iii)
               or that could be reasonably expected otherwise to impair the right of the DIP
               Lender. See Section 8.01(iii)(B), and 8.01(iv) of the DIP Credit Agreement.
               MLBR 4001-2(c) (13)

       23.     Pursuant to MLBR 4001-2(d), the DIP Credit Agreement and the proposed DIP

Order state where the above-mentioned terms and conditions vary from the requirements of

MLBR 4001-2(c).

                                     RELIEF REQUESTED

       24.     By this Motion, the Debtor seeks entry of the DIP Orders (i) authorizing the

Debtor to obtain the DIP Financing and use such funds, and (ii) granting the DIP Lien to the DIP

Lender. The proposed interim DIP Order, attached hereto as Exhibit B, also approves the

proposed notice of the final hearing on this Motion and schedules the final hearing.

       25.     Under the interim DIP Order, the Debtor would be authorized to draw up to

$400,000.00 of the DIP Financing commitment, with the balance to be made available upon



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entry of the final DIP Order, all subject to the terms of the DIP Credit Agreement. The key

terms of the DIP Loans are discussed above, and the DIP Credit Agreement is attached as

Exhibit A.

        26.     The relief requested herein contemplates a modification of the automatic stay (to

the extent applicable) to permit the Debtor to (i) grant the DIP Lien to the DIP Lender and to

perform such acts as may be requested to assure the perfection and priority of such security

interest and lien; (ii) permit the DIP Lender to exercise, in compliance with the terms of the DIP

Credit Agreement, all rights and remedies under such DIP Credit Agreement; and (iii) implement

the terms of the DIP Orders. Stay modifications of this kind are ordinary and standard features of

post-petition debtor financing facilities and, in the Debtor’s business judgment, are reasonable

and fair under the present circumstances.

                                        BASIS FOR RELIEF

        27.     Section 364(c) of the Bankruptcy Code provides, among other things, that if a

debtor is unable to obtain unsecured credit allowable as an administrative expense under section

503(b)(1) of the Bankruptcy Code, the court may authorize the debtor to obtain credit or incur

debt (a) with priority over any and all administrative expenses, as specified in section 503(b) or

507(b) of the Bankruptcy Code, (b) secured by a lien on property of the estate that is not

otherwise subject to a lien, or (c) secured by a junior lien on property of the estate that is subject

to a lien. 11 U.S.C. § 364.

        28.     Section 364(d)(1) of the Bankruptcy Code provides that the court may also

authorize the obtaining of credit or the incurring of debt secured by a senior or equal lien on

property of the debtor’s estate that is subject to a lien if:

        (a) the trustee is unable to obtain such credit otherwise; and




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       (b) there is adequate protection of the interest of the holder of the lien on the property of
       the estate on which such senior or equal lien is proposed to be granted.

11 U.S.C. § 364(d)(1).

       29.     Under sections 364(c) and (d) of the Bankruptcy Code, courts have considered the

following factors in determining whether to approve such post-petition financing:

       (a)     The proposed financing is an exercise of sound and reasonable business judgment.

       (b)     No alternative financing is available on any other basis or that no better offers or
               proposals are before the court.

       (c)     The financing is in the best interests of the estate and its creditors.

       (d)     The credit transaction is necessary to preserve the assets of the estate, or that the
               financing is necessary, essential, and appropriate for the continued operation of
               the debtor’s business and the preservation of the estate.

       (e)     The terms of the transaction are fair, reasonable, and adequate, given the
               circumstances of the debtor-borrower and the proposed lender, or that the
               financing agreement was negotiated in good faith and at arm’s length between the
               debtor and the proposed lender.

In re Farmland Indus., Inc., 294 B.R. 855, 879-81 (Bankr. W.D. Mo. 2003).

A. Exercise of Business Judgment

       30.     Entry into the DIP Loans is an exercise of the Debtor’s business sound and

reasonable business judgment. Courts presume that debtors make financing decisions on an

informed basis, in good faith, and in the honest belief that the action taken was in the best

interests of the company, and will not “second-guess a business decision, so long as corporate

management exercised a minimum level of care in arriving of the decision.” In re Los Angeles

Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011). See also, In re Ames Dep’t Stores, Inc.,

115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[T]he court’s discretion under section 364 is to be

utilized on grounds that permit reasonable business judgment to be exercised so long as the




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financing agreement does not contain terms that leverage the bankruptcy process and powers or

its purpose is not so much to benefit the estates as it is to benefit a party-in-interest.”).

        31.      The Debtor has several confirmed estimates for new work and pending proposals

for future projects, as set forth in the budget attached to the DIP Credit Agreement, including the

following upcoming projects, totaling approximately $1,000,000.00, that require immediate

attention:

Quote No.                Project Name                   Company      Salesperson Start Date

  81529       Riverside Towners                   NEI                  Marcelo        Jun-22

  73481       Terrazza                            Power Company Carolline             Jul-22

  81738       The Pond Units                      Universal Décor      Alysson        Jul-22

  78260       249 Corey Rd                        Power Company Carolline            Aug-22

  78160       86 Essex                            Power Company Carolline            Aug-22

  75212       7 - 9 Central                       Power Company Carolline            Aug-22


        32.      As discussed in the Cash Collateral Motion, after certain cash money lenders,

including Merchant Capital/ Alpha Recovery, contacted the Debtor’s customers pre-petition

wrongfully requesting that the customers pay them directly, and considering the bankruptcy

filing, the Debtor has not been able to reinforce its payment terms for certain commercial multi-

unit projects. Such customers feel concerned about the Debtor’s financial stability in the industry

and are reluctant to make a down payment or 50% deposit that the Debtor would generally

require to purchase materials before it starts a new project. The Debtor is left with no other

option but to finance the beginning of the projects in order to instill customer confidence, and

guaranty the retention of current projects and future partnerships.




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        33.      The Debtor intends to use the majority of the DIP Financing to purchase supplies

and materials so that it can meet its commitments on various projects. The initial DIP Draw of

$400,000.00 will be used primarily for the projects listed above in Paragraph 31. As discussed

above, the needed supplies and materials need to be purchased and inspected in advance. A

proposed use of funds budget related to the DIP Financing amount is attached as Exhibit B to the

DIP Credit Agreement.

        34.      Moreover, with the DIP Financing, the Debtor expects to have sufficient funds to

(i) pay installers and other workers unpaid wages to ensure completion of such new or ongoing

projects, (ii) pay for any unpaid rent to the Trust to prevent any foreclosure on the real property

where the Debtor operates. 6 The DIP Credit Agreement reflects the exercise of the Debtor’s

sound business judgment.

B. Unable to Obtain Alternative Financing

        35.      Since prepetition, finding interested parties with the financing capabilities to

provide additional funding to the Debtor and its business amidst a nearly unprecedented

economic downturn had been challenging.

        36.      Post-petition, most of the interested parties had little interest in a proposed debtor-

in-possession financing due to the small size of the proposed facility and/or considering the

already large amount of debts. The Debtor, through counsel, had extensive discussions with

multiple potential DIP lender’s representatives or brokers (at least five not including the DIP

Lender which is a direct lender). The Debtor ultimately entered into negotiations with the DIP

Lender regarding specific borrowing terms and term sheet in an effort to obtain a package of

financial and legal requirements that the Debtor believes best suits its needs.

6
 As of the Petition Date, the unpaid rent (used by the Trust to pay the mortgages for which the Trust us the primary
obligor) was for 2 months, totaling $56,000.00, which has been reduced to $15,000.00.



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       37.     The Debtor has been unable to procure sufficient financing in the form of

unsecured credit allowable under section 503(b)(1), as an administrative expense under section

364(a) or (b), or in exchange for the grant of a superpriority administrative expense claim

pursuant to section 364(c)(1). The Debtor has not received any other formal offer for

postpetition financing or other financial accommodations from any alternative prospective lender

on more favorable terms and conditions than those for which approval is sought herein.

       38.     Furthermore, section 364(d) does not require that a debtor seek alternative

financing from every possible lender; rather, the debtor simply must demonstrate sufficient

efforts to obtain financing without the need to grant a senior lien. In re Ames, 115 B.R. at 37; In

re Snowshoe Co., 789 F.2d 1085, 1088 (4th Cir. 1986) (demonstrating that credit was unavailable

absent the senior lien by establishment of unsuccessful contact with other financial institutions in

the geographic area); In re 495 Central Park Ave. Corp., 136 B.R. 626, 631 (Bankr. S.D.N.Y.

1992) (debtor testified to numerous failed attempts to procure financing from various sources,

explaining that “most banks lend money only in return for a senior secured position”). See also,

In re Reading Tube Indus., 72 B.R. 329, 332 (Bankr. E.D. Pa. 1987) (given the “time is of the

essence” nature of this type of financing, we would not require this or any debtor to contact a

seemingly infinite number of possible lenders).

       39.     Substantially all of the Debtor’s assets are encumbered and the Debtor has been

unable to procure the required funding absent granting the proposed superpriority claim and

priming lien. The Debtor submits that the circumstances of this case require the Debtor to obtain

financing pursuant to sections 364(c) (2) and (3), and section 364(d) of the Bankruptcy Code.




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C. Pre-petition Secured Creditors Are Adequately Protected

       40.     Section 364(d)(1) requires that a debtor provides some form of adequate

protection to the holder of existing liens when the debtor seeks post-petition financing on a

priming basis. In re Seven Falls, LLC, 2010 Bankr. LEXIS 5228, *18 (Bankr. W.D.N.C. July 6,

2010) (citing to In re Snowshoe Co., 789 F.2d 1085, 1088 (4th Cir. 1986)). While bankruptcy

courts have recognized the importance of protecting a secured creditor’s interest, no brightline

test exists to define the term “adequate protection.” In re Seven Falls, LLC, 2010 Bankr. LEXIS

5228, at *19 (referring to examples of how a secured creditor may be adequately protected under

section 361 of the Bankruptcy Code).

       41.     As discussed above, the Cash Collateral Order already provides for adequate

protection to the Lienholders. Pursuant to the Cash Collateral Order, the Lienholders have the

benefit of, among other things, certain Post-petition Lien. Also, the Debtor has agreed to pay

Adequate Protection Payments to holders of the Senior Claims to the extent of available funds.

The validity and effectiveness of such existing adequate protection shall not be affected by the

entry of an order approving this Motion, except that the Post-petition Liens will now be subject

to the DIP Lien.

       42.     The Lienholders’ interests in the existing collateral will not diminish by the Court

approving the DIP Financing and granting the DIP Lien to the DIP Lender. In fact, the

Lienholders are expected to benefit from the DIP Financing. First, the proceeds of the DIP

Financing will be used to generate new collateral. The Debtor expects to use the funds to,

among other things, purchase supplies and materials so that it can satisfy work in progress,

which will ensure more revenue and accounts receivable. Second, the Debtor will more likely

have a positive cash flow with this cash infusion. Most importantly, the Lienholders’ interests in




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the existing collateral will be enhanced through the use of the DIP Financing by the Debtor

continuing operation of its business, preserving the enterprise value of the business and the value

of the Debtor’s assets while the Debtor pursues more projects that would lead to more revenue to

facilitate its reorganization.

D. Post-petition Financing is Necessary and in Best Interest of Estate

        43.     Approval of the DIP Loans is necessary, essential, and appropriate for the

continued operations of the Debtor’s business and/or the preservation of its estate. Access to

additional working capital so that the Debtor can continue to complete more work for its

customers and ultimately create more accounts receivable is also in the best interests of the estate

and the Debtor’s creditors. In re Farmland Indus., 294 B.R. at 885 (factor is satisfied where

without the continued financing the debtor would likely be forced into a Chapter 7 or 11

liquidation to the detriment of all creditors); In re Ames Dep’t Stores, 115 B.R. at 40 (finding

that the proposed financing was not principally for the benefit of a pre-petition creditor to the

detriment of other parties in interest).

        44.     Additional working capital is needed for the Debtor to continue with its ordinary

course operations, to meet customers’ needs, and to maintain its relationships with its vendors,

and suppliers. To do so, this cash infusion through the DIP Financing is necessary. This DIP

Financing will enable the Debtor to maintain operations while the Debtor restructures its debts

and proposes a Chapter 11 plan of reorganization.

        45.     Approval of the DIP Credit Agreement will provide the Debtor with immediate

and ongoing access to borrowing availability to avoid harm to the Debtor’s estate and potential

erosion of the enterprise value of the Debtor’s business. As discussed herein, the Debtor does

not have sufficient available sources of working capital and financing to purchase necessary




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materials and supplies so that it can meet its commitment on projects, retain available work and

pursue others. Unless the Debtor has access to such additional funds, going concern value of the

Debtor’s business would likely be depleted, and the Debtor’s ability to retain its customers and to

maximize value may be jeopardized.

       46.     The proposed funding under the DIP Credit Agreement will enable the Debtor to

maintain its on-going business relationships, and continue to satisfy its customers while

operating its business in the ordinary course and in an orderly and reasonable manner to preserve

and enhance the value of its estate for the benefit of all stakeholders. Accordingly, the timely

approval of the relief requested herein is imperative.

E. Good Faith Requirement

       47.     The Debtor and the DIP Lender have engaged in arms’-length negotiations with

respect to the terms and conditions of the DIP Credit Agreement, and no alternative financing is

available on equal or better terms. As discussed above, with respect to this factor, a debtor need

only demonstrate that it made a “reasonable effort” to obtain alternative financing. In re Ames

Dep’t Stores, 115 B.R. at 40. The Debtor pursued all sorts of financing options without success

in obtaining any loan proposals with equal or better terms. The Debtor received one other term

sheet that required guaranty by the Trust, a non-debtor party, and a priming lien on the real estate

owned by the Trust without paying in full the existing mortgages.

       48.      Importantly, the DIP Lender agrees that the Debtor may draw on an interim basis

to meet its operational needs and obligations pending final approval of the Motion. It is expected

that interest payment of the DIP Financing, if any, may not start until after confirmation of the

Debtor’s plan which will not affect the budget attached to the Cash Collateral Motion.




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       49.     The terms and conditions of the DIP Credit Agreement are fair and reasonable

and were negotiated in good faith and at arms’ length. Accordingly, the DIP Lender and all

obligations incurred under the DIP Credit Agreement should be accorded the benefits of section

364(e) of the Bankruptcy Code.

                          WAIVER OF BANKRUPTCY RULES 6004

       50.     To implement the foregoing successfully, to the extent applicable, the Debtor

seeks a waiver of the notice requirements under Bankruptcy Rule 6004(a) and the 14-day stay

of an order authorizing the use, sale, or lease of property under Bankruptcy Rule 6004(h).

                                     INTERIM APPROVAL

       51.     Bankruptcy Rule 4001(c) provides that a final hearing on a motion to obtain credit

may not be commenced earlier than fourteen (14) days after the service of such motion. Upon

request, however, the Court is empowered to conduct a preliminary emergency or expedited

hearing on the Motion and authorize the obtaining of credit to the extent necessary to avoid

immediate and irreparable harm to a debtor’s estate pending a final hearing.

       52.     Pursuant to Bankruptcy Rule 4001(c), the Debtor requests that the Court conduct

an emergency preliminary hearing on this Motion for the reasons discussed above and (a)

authorize the Debtor to borrow under the DIP Financing on an interim basis, pending entry of a

final order, and (b) schedule a hearing to consider entry of a final order.

       53.     Absent authorization from the Court to obtain secured credit, as requested, on an

interim basis pending a final hearing on the Motion, the Debtor may be immediately and

irreparably harmed. As discussed above, the availability of this funding under the DIP Financing

will provide necessary assurance to the Debtor’s customers, suppliers, vendors, and other

interested parties of its ability to not only meet its near-term obligations but also continue

operations. Failure to meet these obligations and to provide these assurances likely would have a


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long-term negative impact on the value of the Debtor’s business, to the detriment of all parties in

interest. Accordingly, the interim relief requested is critical to preserving, maintaining and

enhancing the enterprise value of the Debtor’s business.

                                             NOTICE

        54.     The Debtor will send notice of this Motion and/or the interim hearing to the

following parties: (i) the Office of the United States Trustee for the District of Massachusetts, (ii)

the Subchapter V trustee, (iii) the DIP Lender, (iv) the scheduled secured creditors, (v) the

Debtor’s 20 largest unsecured creditors, (vi) any party requesting notice of all pleadings pursuant

to Bankruptcy Rule 2002, and (vii) any other parties designated in the service list by the Debtor

to receive notice. In light of the nature of the relief requested, the Debtor submits that no other

or further notice is required.

        55.     Pursuant to Bankruptcy Rule 4001(c)(2), the Debtor further respectfully requests

that the Court authorize the Debtor to serve notice of the entry of the interim DIP Order and of

the final hearing on (a) the parties having been given notice of the Motion, and (b) any party

which has filed prior to such date a request for notices with this Court. The Debtor requests that

the Court approve such notice of the final hearing as sufficient notice under Bankruptcy Rule

4001.

        WHEREFORE the Debtor respectfully requests entry of order(s) granting the relief

requested herein and such other and further relief as is just.




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                                                Respectfully Submitted,

                                                TOP LINE GRANITE DESIGN INC.

                                                By its proposed bankruptcy counsel,

                                                /s/ Macken Toussaint
                                                Macken Toussaint (BBO# 645076)
                                                Alan L. Braunstein (BBO #546042)
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                                                100 Cambridge Street
                                                Boston, Massachusetts 02114
                                                Tel: (617) 523-9000
                                                mtoussaint@riemerlaw.com
                                                abraunstein@riemerlaw.com


Dated: May 16, 2022




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                                EXHIBIT A

                           (DIP Credit Agreement)
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               DEBTOR-IN-POSSESSION                                    “Bankruptcy Court” has the meaning given to it in the Recitals.
           TERM LOAN CREDIT AGREEMENT
                                                                       “Borrowing Request” means an executed borrowing request
                              among                                    substantially in the form attached hereto as Exhibit A and
                                                                       otherwise in Approved Form.
            TOP LINE GRANITE DESIGN INC.,
                      as Debtor,                                       “Budget” means a budget containing detailed line items of the
                                                                       Debtor’s projected receipts and uses of the DIP Loans, in
                               and
                                                                       Approved Form, including as the same may be revised by the
            Certain Investment Eund(s) for Which                       Debtor from time to time in Approved Form. The Budget as of the
                      LEGALIST, INC.                                   date hereof is attached hereto as Exhibit B.
                Serves as Investment Adviser,
                                                                       “Business Day” means every day that is not a Saturday, Sunday,
                        as DIP Lender
                                                                       or Legal Holiday (as defined in Federal Rule of Bankruptcy
     This DEBTOR-IN-POSSESSION TERM LOAN CREDIT                        Procedure 9006(a)(6)).
AGREEMENT (the “Agreement”), dated as of May 13, 2022, is
                                                                       “Case” has the meaning given to it in the Recitals.
entered into among Top Line Granite Design Inc. (the “Debtor”)
and certain investment fund(s) for w'hich Legalist, Inc. serves as     “Commitment Fee” has the meaning given to it in Section
investment adviser, as lender, agent, and collateral agent (in such    2.05(i).
capacities, the “DIP Lender”).
                                                                       “Debt” has the meaning given to it in the Bankruptcy Code.
                           RECITALS
                                                                       “Debtor” has the meaning given to it in the preamble hereto.
     WHEREAS, on March 25, 2022 (the “Petition Date”), the
                                                                       “DIP Claims means “superpriority” administrative-expense
Debtor filed a voluntary petition in the United States Bankruptcy
                                                                       claims with priority over all pre- and post-petition claims against
Court for the District of Massachusetts (the “Bankruptcy
                                                                       the Debtor, other than administrative expenses for estate
Court”) for relief under chapter 11 of title 11 of the United States
                                                                       professional fees and other administrative expenses in the Case.
Code (the “Bankruptcy Code”) and its chapter 11 case is being
administered under the caption In re Top Line Granile Design           “DIP Collateral” means all assets and properties, whether real,
Inc., No. 22-40216 (the “Case”);                                       personal, intellectual, or otherwise, whether tangible or
                                                                       intangible, whether domestic, foreign, or international, that the
     WHEREAS, the Debtor has continued in possession of its
                                                                       Debtor now owns or hereafter acquires, or to or in which the
assets and management of its business pursuant to Bankruptcy
                                                                       Debtor, now or in the future, holds any right, title, or interest
Code sections 1107 and 1108;
                                                                       (whether fixed, contingent, inchoate, or otherwise), expressly
    WHEREAS, an immediate and ongoing need exists for the              excluding (i) all Avoidance Actions, together with (in each case)
Debtor to obtain funds in order to fund the Case and w'ork tow'ard     all proceeds thereof, and (ii) any financed automobile for which
a successful exit from chapter 11 and, accordingly, the Debtor         the Debtor has no equity. DIP Collateral shall include any other
requested that the DIP Lender extend the DIP Loans;                    litigation proceeds; provided that such proceeds may be used for
                                                                       distributions or payments to creditors under the chapter 11 plan
    WHEREAS, the DIP Lender is whiling to extend DIP Loans
                                                                       of the Debtor with the consent of the DIP Lender.
(each a “DIP Draw”) on the terms hereof in an aggregate
maximum amount of $1,000,000 (the “DIP Commitment”) in                 “DIP Commitment” has the meaning given to it in the Recitals.
accordance w'ith the allocation on Addendum 1; the initial DIP
                                                                       “DIP Draw” has the meaning given to it in the Recitals.
Draw shall be $400,000.00 as set forth in the Budget.
                                                                       “DIP Financing Motion” has the meaning set forth in Section
         NOW THEREFORE, in consideration of the foregoing,
                                                                       12.01.
and for other good and valuable consideration, the receipt and
sufficiency of w'hich are hereby acknowdedged, the parties hereto      “DIP Lender” has the meaning given to it in the preamble hereto.
(the “Parties”) agree as follow's:
                                                                       “DIP Lender Expenses” has the meaning given to it in Section
                                  ARTICLE I                            11.03.
                       DEEINED TERMS
                                                                       “DIP Liens” has the meaning given to it in Section 10.02.
                     Section 1.01    Definitions. As used in this
                                                                       “DIP Loan Documents” means this Agreement, all Borrowing
                     Agreement:
                                                                       Requests, the DIP Orders, the Budget and related reporting, and
“Affiliate” has the meaning given to it in the Bankruptcy Code.        all other agreements, documents, and instruments in any way
                                                                       arising from, related to, or connected with the DIP Commitment,
“Agreemenf’ has the meaning given to it in the preamble hereto.
                                                                       DIP Loans, DIP Claims, and/or DIP Liens, together with all
“Approved Eorm” means in form and substance acceptable to (as          schedules, exhibits, and other addenda thereto, all of which shall
evidenced by the prior w'ritten consent of) the DIP Lender.            be in Approved Form.
“Avoidance Actions” means all claims and causes of action              “DIP Loans” has the meaning given to it in Section 2.01(a).
described in Bankruptcy Code chapter 5, or any non-bankruptcy
                                                                       “DIP Obligations” means DIP Lender Expenses, together with
law' referenced therein, and all proceeds thereof.
                                                                       all principal of, and interest and fees on (including, without
“Bankruptcy Code” has the meaning given to it in the Recitals.         limitation, any applicable Undrawn Line Fee, the Monitoring Fee,
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Commitment Fee, Underwriting Fee, and any applicable                          (i)       Pay DIP Lender Expenses;
Makewhole Fee) the DIP Loans, any amount owed to any
                                                                              (ii)      Pay all other DIP Obligations;
Indemnified Person, and any other amount owed by the Debtor
under any DIP Loan Document.                                                  (iii)   Pay post-petition administrative expenses in the Case,
                                                                              including professional fees, and pre-petition claims of critical
“DIP Orders” means the interim DIP order and/or the final DIP
                                                                              vendors and other parties as approved by the Bankruptcy Court;
order, as applicable, of the Bankruptcy Court approving the DIP
                                                                              and .
Loans in Approved Form.
                                                                              (iv)      Pay other amounts permitted under the Budget.
“Effective Date” has the meaning given to it in Section 3.02.
                                                                              In no event shall any portion of the DIP Loans be used for
“Event of Default” has the meaning given to it in Section 8.01.
                                                                              payment of fees, costs, or expenses incurred by any party in
“Existing Liens” means the Liens set forth on the Debtor’s                    (x) investigating or pursuing any claim or cause of action against
bankruptcy schedule D, and any post-petition lien and other                   the DIP Lender, any Affiliate thereof, or any other Indemnified
adequate protection pursuant to the Debtor’s cash collateral                  Person or (y) questioning or challenging, or taking any other
motion and related order(s).                                                  action that could reasonably be expected otherwise to impair,
                                                                              any DIP Lien or DIP Claim (or the priority, validity, or
“Indemnified Liabilities” has the meaning set forth in Section
                                                                              enforceability thereof), any DIP Obligation, any DIP Loan
7.01.                                                                         Document, or any right or remedy of the DIP Lender.
“Indemnified Persons’’ has the meaning set forth in Section 7.01.
                                                                              Section 11.03     |Omitted|.
“Lien” has the meaning given to it in the Bankruptcy Code.
                                                                              Section 11.04     Interest; Undrawn Line Fee.
“Makewhole Fee” has the meaning given to it in Section 2.07(c).                       Interest Rate. The outstanding principal amount of the
                                                                              (a)
“Maturity Date” means the earliest to occur of (w) two years                  DIP Loans shall accrue interest from the Effective Date at the
after the Effective Date of the first DIP Draw, (x) the entry of final        U.S. prime rate (subject to a 4.00% floor) plus 9.9% per year.
decree in the Case, (y) repayment in full of all outstanding DIP                      Default Interest. While an Event of Default has occurred
                                                                              (b)
Loans, and (z) the acceleration of the DIP Loans following an                 and is continuing, the outstanding principal amount of the DIP
Event of Default.                                                             Loans shall accrue an additional 4.75% in interest per year,
“Monitoring Fee” has the meaning given to it in Section 2.05(iii).            which shall accrue and capitalized monthly. Payment or
                                                                              acceptance of the increased rates of interest provided for in this
“Person” has the meaning given to it in the Bankruptcy Code.                  Section 2.4(b) is not a permitted alternative to timely payment
“Petition Date” has the meaning given to it in the Recitals.                  and shall not constitute a waiver of any Event of Default or
                                                                              otherwise prejudice or limit any rights or remedies of the DIP
“Permitted Variances” has the meaning given to it in Section                  Lender.
S.OUiii).
                                                                              (c)     Undrawn Line Fee. Any undrawn portion of the DIP
“Underwriting Fee” has the meaning given to it in Section                     Commitment shall accrue a fee (the “Undrawn Line Fee”) from
2.05(ii).                                                                     after entry of the interim DIP Order at 4.75% per year, which
“Uniform Commercial Code” has the meaning given to it in                      shall accrue and be capitalized monthly.
Section 11.08.'                                                               (d)      Payment Terms. All unpaid interest (including default
                                          ARTICLE II                          interest) and any applicable Undrawn Line Fee (which shall be
                            DIP LOANS                                         DIP Obligations for all purposes), together with the fees
                                                                              described in Section 2.05, shall be due and payable upon the
 Section II.01     In General.                                                Maturity Date.
 (a)     Subject to the terms hereof, the DIP Lender agrees, upon             Section 11.05     Fees. The following fees (i) shall be deemed
 the Effective Date, to make available to the Debtor, in one or               fully and irrevocably earned upon entry of the DIP Orders
 more DIP Draws, term loans in the full amount DIP Commitment                 (unless the DIP Lender declines to provide the DIP Commitment
 (such term loans, the “DIP Loans”).                                          to the Debtor), and (ii) shall be DIP Obligations for all purposes;
 (b)     Subject to Section 2.7, all amounts owed hereunder with             (i)     A one time “Commitment Fee” of 2.75% of the DIP
 respect to the DIP Loans shall be paid in full no later than the                    Commitment due and payable in cash upon the Maturity
 Maturity Date. Any principal amount of the DIP Loans repaid or                      Date;
 prepaid may not be leborrowed.
                                                                             (ii) A one time “Underwriting Fee” of 1.75% of the DIP
 Section 11.02    Use of Proceeds. The proceeds of the DIP                        Commitment due and payable in cash upon the Maturity
 Loans shall be used by the Debtor as working capital and for                     Date; and
 operating expenses, including for payments under its chapter 11
 plan in the Case, including to:                                              (iii)   A “Monitoring Fee” of 1.75% of the DIP Commitment
                                                                              per year, due and payable in cash upon the Maturity Date.



        Capitalized terms used but not defined herein have the
meanings given to them in the DIP Order.
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Section 11.06   Repayment. Subject to Sections 2.07, the DIP                               ARTICLE 111
Loans shall be due and payable, and the Debtor unconditionally                         CONDITIONS PRECEDENT
agrees and promises to repay to the DIP Lender all other
                                                                      Section III.01 Conditions Precedent to DIP Draws. The
outstanding DIP Obligations, in cash on the Kdaturity Date,
                                                                      obligation of the DIP Lender to make DIP Draws available to the
Section 11.07    Prepayments.                                         Debtor in the aggregate amount of the DIP Commitment
                                                                      (provided no Event of Default shall have occurred and be
(a)     Voluntary Prepayments. The DIP Loans may be
                                                                      continuing), is subject to the occurrence (with respect to each
voluntarily repaid prior to the Maturity Date beginning 180 days
                                                                      such DIP Draw) of all of:
after the Effective Date, in the minimum amount of $50,000,
subject (during the following 90 days) to the contemporaneous         (i)    The execution of this Agreement, subject to approval of
payment of the applicable Makewhole Fee.                              the Bankruptcy Court;

(b)     Mandatory Repayments. The DIP Loans shall be                          The Bankruptcy Court’s entry of the applicable DIP
mandatorily repaid to the extent of. and within 10 Business Days      Order, which remains in full force and effect as so entered and
of the Debtor’s receipt of any net proceeds from the sale or other    in Approved Form; provided that upon entry of the interim DIP
disposition of any DIP Collateral other than sale of the Debtor’s     Order but prior to the entry of the final DIP Order, the initial DIP
inventory in the ordinary course of business; provided that no        Draw of $400,000.00 shall be permitted as set forth in the Budget
such sale or disposition of the Debtor’s business or substantially    and the interim DIP Order.
all assets shall occur without the DIP Lender’s prior written
                                                                      (iii)  The Debtor's delivery of an executed Borrowing
consent and any such sale or disposition shall be conducted
                                                                      Request in the amount of such DIP Draw; and
solely in Approved Form (unless the sale proceeds will be
sufficient to pay the DIP Obligations in full).                       (iv)     Each of the representations and warranties set forth in
                                                                      this Agreement and in each other DIP Loan Document shall be
(c)     As used in this Section 2.07, “Makewhole Fee” means
                                                                      true and correct as of the Effective Date, except to the extent that
an additional fee of 4.75% of the amount of voluntarily repaid
                                                                      any such representation or warranty expressly relates to an
within 270 days of the Effective Date, which fee shall be a DIP
                                                                      earlier date, in which case each such representation and warranty
Obligation for all purposes.
                                                                      shall have been true and correct as of such earlier date.
Section 11.08    General Provisions Regarding Payments.
                                                                      Section 111.02 Effective Date. With respect to any DIP Draw,
(a)      Payments. All payments by or on behalf of the Debtor of      the date on which all of the conditions precedent described in
principal, interest, fees, or other DIP Obligations shall be made     Section 3.01 have been met shall be the “Effective Date.”
in U.S. dollars in same-day funds, without defense, setoff or
                                                                                    ARTICLE IV
counterclaim of any kind, free of any restriction or condition, and
                                                                      REPRESENTATIONS AND WARRANTIES OF DEBTOR
delivered to DIP Lender so as to be actually received by it no
later than 1:00 PM New York time. All funds actually received         To induce the DIP Lender to provide the DIP Loans, the Debtor
by the DIP Lender after that time shall be deemed to have been        makes to the DIP Lender all of following representations and
paid on the next Business Day.                                        warranties, which representations and warranties shall (x) be
                                                                      deemed to have been made and remade as of each Effective Date
(b)     Non-Conforming Payments. Any payment not
                                                                      and (y) survive the execution and delivery of this Agreement:
conforming to the foregoing Clause (a) shall be deemed a non-
conforming payment and shall not be deemed to have been               Section IV.01     Coi poi ate Status: Corporate Authorization.
actually received by the DIP Lender until the later of (x) the time
                                                                      (a)      The Debtor is duly organized, validly existing, and in
such funds become available funds and (y) the next Business
                                                                      good standing under the laws of its jurisdiction of organization
Day, Interest and fees shall continue to accrue on any principal
                                                                      and is duly qualified and in good standing in every other
(together with all other due and payable DIP Obligations) until
                                                                      jurisdiction where it is doing business, and the execution,
such funds become available funds.
                                                                      delivery, and performance by the Debtor of this Agreement
                                                                      (x) are within its authority, (y) have been duly authorized, and
(c)     Payments to Include Accrued Interest. All payments in
                                                                      (z) do not conflict with or contravene its corporate-governance
respect of the principal amount of the DIP Loans shall include
                                                                      or organizational documents.
payment of accrued and unpaid interest on the principal amount
being repaid or prepaid, and all such payments shall be applied       (b)      Subject to approval of the Bankruptcy Court, the
in accordance w ith Section 8.03.                                     execution, delivery, and performance of obligations under this
                                                                      Agreement by the Debtor (x) do not require any consent that has
(d)     Business Days. Whenever a payment hereunder is due
                                                                      not been obtained and (y) are not and will not be in conflict w'ith
on a day that is not a Business Day, such payment shall be made
                                                                      or prohibited or prevented by any (i)law', rule, or regulation,
on the next Business Day.
                                                                      (ii) corporate-governance or organizational document of the
Section 11.09      Termination of Commitments. The DIP                Debtor or (iii) other instrument or agreement, in each case
Commitment of the DIP Lender shall be automatically and               binding on the Debtor or affecting its property.
permanently reduced (x) by the principal amount of each DIP
                                                                      Section IV.02 Execution and Binding Effect. Upon
Loan made by the DIP Lender pursuant to Section 2.01(b) and
                                                                      execution and deliveiy hereof, this Agreement shall constitute
(y) in full, upon (i) acceleration of the DIP Loans under Section
                                                                      the legal, valid, and binding obligation of the Debtor,
8.02(a)(i) or (ii) terminated upon the election of the DIP Lender
                                                                      enforceable in accordance wdth its terms.
w'hile an Event of Default has occurred and is continuing.
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Section IV.03 DIP Collateral. The Debtor has good and                       (which shall not be amended w'ithout the prior w'ritten consent of
marketable title to all DIP Collateral, free of all Liens, security         the DIP Lender) and (y) all rights, licenses, and franchises.
interests, pledges, and other encumbrances, other than the DIP
                                                                            Section V.04       Preservation of Assets. The Debtor shall
Liens and Existing Liens.
                                                                            maintain its assets (including all DIP Collateral) in good
Section IV.04 Absence of Material Adverse Effect. There                     operating conditions and shall make such repairs and
has been no act, condition, or event that has had, or may                   replacements as are required, in accordance w'ith the Budget;
reasonably be expected to have, a material adverse effect on the            provided that, in no event shall the DIP Lender be surcharged
Debtor or its operations since the Petition Date.                           W'ith respect to such maintenance of the DIP Collateral.
Section IV.05 Governmental Annrovals and Filings. Except                    Section V.05    Notice of Material Events. The Debtor shall
as has already been obtained, no approval, authorization, or other          notify the DIP Lender promptly in w'liting of:
action by, or filing, recording, or registration w'ith, or notice to,
                                                                            (i)     Any threatened or pending litigation or other proceeding
any governmental body is or w'ill be necessary in connection w ith
                                                                            or claim materially affecting the Debtor, other than the effect of
the execution, delivery, or performance of this Agreement.
                                                                            the bankruptcy; and
Section IV.06 Misstatements and Omissions. Since the
                                                                            (ii)   Any other development that results in, or could
Petition Date, no information furnished or made available by the
                                                                            reasonably be expected to result in, a material adverse effect on
Debtor (directly or indirectly) to the DIP Lender (including all
                                                                            the Debtor or its operations, other than the effect of the
information contained in the Case’s docket) (x) contains any
                                                                            bankruptcy.
material misstatement of fact or (y) omits any material fact
necessary to make such information not misleading.                          Section V.06     Use of Proceeds. The Debtor shall use the
                                                                            proceeds of the DIP Loans only as permitted by Section 2.02.
                     ARTICLE V
                AFFIRMATIVE COVENANTS                                       Section V.07      lOmittedj.
So long as any DIP Obligation remains outstanding, the Debtor               Section V.08     Taxes. The Debtor w'ill pay its tax liabilities
shall perform all of the follow'ing covenants:                              accruing after the Petition Date before the same shall become
                                                                            delinquent or in default, except w'here the validity or amount
Section V.Ol      Budget Reporting and Compliance.
                                                                            thereof is being contested in good faith by appropriate
No later than the first Tuesday of each month (or on the 20"’ day           proceedings and the Debtor has set aside on its books adequate
of each month while the Case is pending), the Debtor shall                  reserves in accordance w'ith generally accepted accounting
provide the DIP Lender:                                                     principles.

(i)     A variance report (certified by an appropriate officer of           Section V.09      [Omitted].
the Debtor) comparing, on a line-item basis, actual cash receipts
                                                                            Section V.IO      Compliance with Laws. The Debtor shall
and disbursements to those contained in the Budget, for the
                                                                            comply W'ith all applicable law's, rules, and regulations.
preceding month, together with detailed explanations of all
variances (if any), subject to (iii) below',                                Section V.ll        Bankruptcy Court Filings. After approval of
                                                                            the DIP Financing Motion, the Debtor shall commence all
(ii) A rolling 13-w'eek cashflow' forecast in relation to the
                                                                            actions in, file all motions, applications, or proposed orders w'ith,
Budget, if applicable, subject to (iii) below'. In no event shall
                                                                            and make all other submissions to the Bankruptcy Court w'ith
actual cash receipts vary dow'nw'ard. or cash disbursements vary
                                                                            notice to the DIP Lender; provided that the Debtor may
upw'ard, from the Budget (on a line-item, monthly, or cumulative
                                                                            continue to file all required monthly operating reports.
basis) by more than 10% (the “Permitted Variances”). For the
avoidance of doubt, the Permitted Variance restriction is w'ith             Section V.12      Full Access to Information. The Debtor shall
respect to the Budget and the DIP Loans.                                    promptly provide the DIP Lender w'ith all requested information
                                                                            and full and complete access to all executives, directors, and
(iii) Copies of reconciliation statement and any updated budget
                                                                            advisors of the Debtor, together w'ith access to inspect any DIP
the Debtor files while the Case is pending.
                                                                            Collateral, w'hen requested by the DIP Lender; provided that, in
(iv) Copies of the monthly operating reports the Debtor files               the event of sale of the Debtor’s business, w'ithout any prior
W'ith the Bankruptcy Court or the U.S. Trustee’s office w'hile the          request from the DIP Lender, the Debtor shall deliver to the DIP
Case is pending.                                                            Lender in real time copies of any w'ritten offer to acquire the
                                                                            Debtor, the DIP Collateral, or any part thereof, together with all
                                                                            related correspondence.
Section V.02    Accounting: Financial Statements. The
                                                                            Section V.13       Stay, Extension, and Usury Laws. The Debtor
Debtor shall keep true and accurate books of record and account             (x) covenants that it w'ill not at any time in any manner
in accordance w'ith past practice and the requirements of the
                                                                            w'hatsoever claim or take the benefit or advantage of any stay,
Bankruptcy Court and sufficient to permit the preparation of
                                                                            extension, or usury law' (w'herever enacted) that may affect the
financial statements in accordance w'ith generally accepted                 performance in full of this Agreement and (y) expressly w'aives
accounting principles.                                                      the benefit of all such law's, to the extent permitted by applicable
Section V.03    Maintenance of Existence. The Debtor shall                  law'.
do all things necessaiy to maintain (x) its corporate or other
                                                                            Section V.14 Timely Payment of DIP Lender Expenses,
existence in accordance w'ith its organizational documents                  Other DIP Obligations. The Debtor shall, in addition to

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repaying all other DIP Obligations when due and payable                                              ARTICLE VII
hereunder, timely pay all DIP Lender Expenses no later than the
                                                                                                 INDEMNIFICATION
Maturity Date.
                                                                           Section VII.01 Indemnification by the Debtor. The Debtor
Section V.I5     Further Assurances. The Debtor shall fully
                                                                           shall indemnify the DIP Lender and its Affiliates (expressly
cooperate with the DIP Lender, and take such actions and
                                                                           including Legalist, Inc. and Legalist DIP GP, LLC), together
execute such documents and instruments as the DIP Lender may
                                                                           with their respective partners, directors, officers, managers,
request, in furtherance of this Agreement and the transactions
                                                                           members, partners, investors, employees, contractors, agents,
contemplated hereby, expressly including all steps necessary or
                                                                           administrators,      advisors      (including    attorneys),      and
desirable to maintain the priority, validity, and enforceability of
                                                                           representatives, against, and hold each such Person (each an
the DIP Claims and DIP Liens on the DIP Collateral.
                                                                           “Indemnified Person”) harmless from, all liabilities,
                      ARTICLE VI                                           obligations, losses, damages, penalties, claims, actions, causes of
                  NEGATIVE COVENANTS                                       action, judgments, suits, costs, expenses, fees, and
                                                                           disbursements, of any kind or nature whatsoever, whether direct,
So long as any DIP Obligation remains outstanding, the Debtor
                                                                           indirect, special, exemplary, or consequential and whether based
shall perform all of the following covenants:
                                                                           on federal, state, foreign, or international laws, statutes, rules, or
Section VI.01 Indebtedness. The Debtor shall not (directly or              regulations, that may be imposed on, incurred by, or asserted
indirectly) incur, create, or permit to exist any Debt, other than         against such Indemnified Person, in any way arising from, in
(x) Debt existing as of the Petition Date, (y) the DIP Obligations,        connection with, or relating to any DIP Loan Document, the
and (z) Debt expressly contemplated by the Budget, provided                transactions contemplated thereby, or any action taken or not
that such limitation does not apply to trade debt and similar              taken in connection therewith (collectively, the “Indemnified
obligations incurred in the ordinary course of business.                   Liabilities”): provided that such indemnity shall not be available
                                                                           to an Indemnified Person to the extent that any Indemnified
Section VI.02 Liens. The Debtor shall not (directly or
                                                                           Liability was a direct result, as determined by a court of
indirectly) incur, create, or permit to exist any Lien other than
                                                                           competent jurisdiction, in a final and non-appealable order, of
(x) Existing Liens and (y) the DIP Liens.
                                                                           the gross negligence or willful misconduct of such Indemnified
Section VI.03 Supernrioritv Claims. Except as set forth                    Person. The Debtor’s payment obligations with respect to any
herein, the Debtor shall not (directly or indirectly) incur, create,       Indemnified Liability shall constitute DIP Obligations for all
or permit to exist any administrative-expense claim, expense, or           purposes, and each Indemnified Person not a Party shall be a
cost (x) with priority senior or equal to the DIP Claims or (y) not        third-party beneficiary of this Agreement for purposes enforcing
expressly contemplated by the Budget. [This provision may                  such obligations.
vary from the requirements of MLBR 4001-2(c)(9)]
                                                                                                  ARTICLE VIII
Section VI.04 Payments. The Debtor shall not make any                                          EVENTS OF DEFAULT
payment (other than in respect of the DIP Obligations) not
                                                                           Section VIll.Ol Events of Default. The occurrence and
expressly contemplated by the Budget, provided that such
                                                                           continuation of each of the following shall constitute an “Event
limitation does not apply to trade debt and similar obligations
                                                                           of Default
incurred in the ordinary course of business.
                                                                           (i)     The Debtor shall:
                                                                           (A)     Fail to timely pay any DIP Lender Expense or other DIP
Section VI.05 Merger or Sale. The Debtor shall not (directly
                                                                           Obligation;
or indirectly) (x) merge or consolidate with another Person or
(y) unless the net proceeds thereof shall be sufficient to repay the       (B)     Grant or permit to exist any Lien on any DIP Collateral,
DIP Obligations (subject to Section 2.07) in full, sell any DIP            other than the DIP Liens and Existing Liens;
Collateral: provided any such sale shall be in Approved Form.
                                                                           (ii)    Any representation, warranty, certification, or other
Section VI.06 Business. The Debtor shall not engage in any                 statement made, or deemed made in or delivered pursuant to any
business other than its line of business as of the Petition Date.          DIP Loan Document, by the Debtor shall be false in any material
                                                                           respect as of the date so made, deemed made, or delivered;
Section VI.07 Amendments to Organizational Documents.
The Debtor shall not amend any corporate-governance or                     (iii)    The Bankruptcy Court or another court of competent
organizational document.                                                   jurisdiction shall enter an order, after approval of the DIP
                                                                            Financing Motion, without the prior written consent of the DIP
Section VI.08 Bankruptcy Court Filings. After approval of
                                                                           Lender, and provided the Debtor has not timely filed an objection
the DIP Financing Motion, the Debtor shall not commence any
                                                                           or opposition to such order:
action in, file any motion, application, or proposed order with, or
make any other submission to the Bankruptcy Court without                  (A)      Granting adequate protection, under Bankruptcy Code
notice to the DIP Lender; provided that the Debtor may continue            section 361, 362, 363, or 364 or otherwise, to any party, except
to file all required monthly operating reports.                            as set forth in the Budget and related to the Debtor’s cash
                                                                           collateral motion;
                                                                           (B)     Granting relief from the automatic stay, under
                                                                           Bankruptcy Code section 362 or otherwise, to any party, other
                                                                           than the DIP Lender, with respect to any DIP Collateral; [This

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provision may vary from the requirements of MLBR 4001-                  (Vi)    The Debtor shall fail to perform or comply with any
2(c){13)|                                                               other agreement, covenant, term, or condition in any DIP Loan
                                                                        Document, other than those listed in the preceding Clauses (i)-
(C)    Surcharging, under Bankruptcy Code section 506(c) or
                                                                        (v); provided such failure has not been remedied (if capable of
otherwise, any DIP Collateral in any amount, or subjecting the
                                                                        remedy) within 21 days of the earlier of (x) the Debtor’s
DIP Lender or DIP Collateral to the equitable principle of
                                                                        becoming aware of such failure or (ii) the Debtor’s receipt of
marshaling; [This provision may vary from the requirements
                                                                        written notice from the DIP Lender of such failure.
ofMLBR4001-2(c)(4)|.
                                                                        Section VI11.02 Remedies.
(D)    Approving credit or debt (other than the DIP Loans)
secured by a Lien, under Bankruptcy Code section 364 or                 (a)     Subject only to the DIP Order, and notwithstanding
otherwise, on any DIP Collateral; [This provision may vary              Bankruptcy Code section 362, while any Event of Default has
from the requirements of MLBR 4001-2(c)(9)|                             occurred and is continuing, the DIP Lender may immediately,
                                                                        without further order of, or application to, the Bankruptcy Court:
(E)     Except as      permitted   herein,   approving    any
administrative-expense claim, expense, or cost against the              (i)     Declare the DIP Commitment terminated; and
Debtor (other than the DIP Claims), under Bankruptcy Code
                                                                        (ii)    Declare all DIP Obligations immediately due and
section 364. 502, 507, or otherwise, with priority of payment
                                                                        payable, without the requirement of presentment, demand,
senior or equal to the DIP Claims; [This provision may vary
                                                                        protest, or any other notice, all of which are waived by the
from the requirements of MLBR 4001-2(c)(9)|
                                                                        Debtor.
(F)    Modifying, staying, vacating, or rescinding any part of
                                                                        (b)     While any Event of Default has occurred and is
any DIP Order;
                                                                        continuing, the DIP Lender may move or apply to the
(G)     Holding, adjudicating, or declaring any DIP Lien or DIP         Bankruptcy Court for entry of an order:
Claim (or the priority, validity, or enforceability thereof), any
                                                                        (i)     Terminating the automatic stay with respect to any DIP
DIP Obligation, any DIP Loan Document, or any right or remedy
                                                                        Collateral; [This provision mas sary from the requirements of
of the DIP Lender to be invalid, unenforceable, or otherwise
                                                                        MLBR4001-2(c)(5)|
subject to question, challenge, or impairment;
                                                                        (ii)    Appointing an examiner or chapter 7 trustee; and
(H)    Enjoining, restraining, or in any other way preventing a
Debtor from conducting any material part its business affairs;          (iii)   Converting the Debtor's Case to chapter 7.

(I)     Appointing an examiner or trustee in the Debtor’s Case,         (c)      If the DIP Lender so moves or applies, the Debtor shall
other than the Subchapter V trustee;                                    be limited to contesting solely whether the Event of Default has
                                                                        occurred and/or is continuing. The Debtor expressly waives the
ii)    Confirming any chapter 11 plan that does not provide for         right to contest such relief whatsoever beyond the foregoing
repayment in full in cash of all outstanding DIP Obligations by         limitation.
the Maturity Date;
                                                                        (d)     In addition to the rights and remedies enumerated in the
(K)    Converting the Debtor’s        Case to      a case under         foregoing Clauses (a) and (b), the DIP Lender shall be entitled,
Bankruptcy Code chapter 7; or                                           while any Event of Default has occurred and is continuing, to
(L)     Dismissing or closing the Debtor’s Case;                        pursue all rights and remedies available to it under the
                                                                        Bankruptcy Code (whether as a creditor, party in interest, or
(iv)    The Debtor, or an Affiliate thereof, shall commence any         otherwise) or as a secured party under the Uniform Commercial
action in, file any motion or application with, or make any other       Code.
submission to the Bankruptcy Court or another court of
competent jurisdiction (or join in or otherwise support the same)       (e)    For the avoidance of doubt, all costs incurred by the DIP
(x) seeking entry of any order described in the foregoing Clause        Lender in connection with this Section 8.02 shall constitute DIP
(iii) or (y) questioning or challenging, or that could be               Lender Expenses and DIP Obligations for all purposes.
reasonably expected otherwise to impair, any DIP Lien or DIP            Section V11L03 Application of Funds. If the DIP Lender
Claim (or the priority, validity, or enforceability thereof), any       receives any payment from or on behalf of the Debtor, or collects
DIP Obligation, any DIP Loan Document, or any right or remedy           any money or property pursuant to this Article Vlll, it shall pay
of the DIP Lender; [This provision may vary from the                    out the money or property as follows:
requirements of MLBR 4001-2(c)(13)j
                                                                        (i)    First: To the DIP Lender, for accrued and unpaid DIP
(V)     Any party (other than the Debtor or an Affiliate thereof)
                                                                        Lender Expenses;
shall commence any action in, file any motion or application
with, or make any other submission to the Bankruptcy Court or           (ii)     Second: To the DIP Lender, for accrued and unpaid
another court of competent jurisdiction (x) seeking entry of any        interest (including default interest) and applicable fees;
order described in the foregoing Clause (iii) or (y) questioning
                                                                        (iii)   Third: To the DIP Lender, for unpaid principal
or challenging, or that could be reasonably expected otherwise
                                                                        outstanding on the DIP Loans;
to impair, any DIP Lien or DIP Claim (or the priority, validity,
or enforceability thereof), any DIP Obligation, any DIP Loan            (iv)    Fourth: To the DIP Lender, for all other unpaid DIP
Document, or any right or remedy of the DIP Lender; provided            Obligations; and
that the Debtor has not timely filed a reasonable objection or
opposition to such action, motion, or other submission; and

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 (v)     Fifth: After all DIP Obligations (including reasonable                                    ARTICLE XI
 reserves) have been indefeasibly paid in full in cash and the DIP                                MISCELLANEOUS
 Commitment has terminated, the DIP Lender shall distribute any
                                                                            Section XI.Ol Aiiienciments and Waivers. No amendment,
 surplus to the Debtor.
                                                                            modification, termination, or waiver of any provision hereof, or
 For the avoidance of doubt, the Debtor shall remain liable for             consent to any departure by the Debtor therefrom, shall be
 any deficiency.                                                            effective without the express written consent of the DIP Lender.
                                                                            Any such waiver or consent shall be effective only in the specific
                          ARTICLE IX
                                                                            instance and for the specific purpose for which it was given. No
                           lOMITTEDj
                                                                            notice to or demand on the Debtor in any given instance shall
                 ARTICLE X                                                  entitle the Debtor to any other or further notice or demand in
       COLLATERAL, SECURITY, AND PRIORITY                                   similar or other circumstances.
 Section X.Ol      DIP Claims. The Debtor covenants, represents.            Section XL02 Notices. All notices, requests, demands, and
 and warrants that, upon entry of the DIP Order, all DIP                    other communications under any DIP Loan Document shall be
 Obligations shall, pursuant to Bankruptcy Code sections 364(c)             in writing, delivered by electronic mail as follows, and deemed
 and (d), as applicable, constitute DIP Claims, payable from and            effective upon delivery:
 having recourse to all property of the Debtor’s estates (expressly
                                                                            (i)     If to the Debtor:
 including all DIP Collateral).
                                                                            Attn: Edmilson Ramos (e.ramos(gtoplinegranitedesign,com)
 Section X.02       Grant of Security Interest. Subject to the
 priorities set forth in Section 10.03, as to all DIP Collateral, the       With a copy (which shall not constitute notice) to:
 Debtor assigns and conveys as security, grants a security interest
                                                                            Riemer & Braunstein LLP
 in and Lien on, hypothecates, mortgages, pledges, and sets over
                                                                            Attn: Alan Braunstein, Esq, (ABraunstein(g)riemeiiaw.com)
 and unto the DIP Lender all right, title, and interest of the Debtor
 in the DIP Collateral (collectively, the “DIP Liens”), excluding           (ii)    If to the DIP Lender:
 all Avoidance Actions. The Debtor acknowledges that, pursuant
                                                                            c/o Legalist, Inc. (dip@legalist.com).
 to the DIP Order, the DIP Liens granted to the DIP Lender in all
 DIP Collateral shall be automatically perfected without reference          Section XL03 DIP Lender Expenses. The Debtor agrees to
 to any notice or recordation requirements of non-bankruptcy law.           pay all reasonable costs and expenses of the DIP Lender incurred
                                                                            in connection with, arising from, or relating to this Agreement
 Section X.03     DIP Liens. The Debtor covenants, represents.
                                                                            and the DIP Loan Documents, and any exercise of rights or
 and warrants that, upon entry of DIP Order, the DIP Liens shall
                                                                            remedies thereunder, whether before or after the date hereof and
 comprise:
                                                                            irrespective of the occurrence of any default or Event of Default,
 (i)     Pursuant to Bankruptcy Code section 364(c)(2), an                  including (without limitation) all costs of inhouse counsel,
 automatically perfected, senior DIP Lien on all DIP Collateral             advisers, and consultants of DIP Lender, together all fees,
 not subject to Existing Liens;                                             expenses, and disbursements of outside counsel or other advisers
                                                                            and consultants retained by the DIP Lender with respect thereto
 (ii)    Pursuant to Bankruptcy Code section 364(c)(3), an
                                                                            (collectively, the “DIP Lender Expenses”), which shall
 automatically perfected, junior DIP Liens on all DIP Collateral
                                                                            constitute DIP Obligations for all purposes hereunder. The
 subject to Existing Liens;
                                                                            foregoing shall be in addition to, and shall not limit, any other
 (iii)   Pursuant to Bankruptcy Code section 364(d)(1), an                  provision of the DIP Loan Documents regarding DIP
 automatically perfected, equal DIP Liens on all DIP Collateral             Obligations to be paid by the Debtor. [This provision may vary
 subject to Existing Liens; and                                             from the requirements of MLBR 400I-2(c)(12) to the extent
                                                                            such payments are to be made without notice or review by
 (iv)    Pursuant to Bankruptcy Code section 364(d)(1), an
                                                                            the US Trustee’s office and the Bankruptcy Court.]
 automatically perfected, senior DIP Liens on all DIP Collateral
 subject to Existing Liens,                                                 Section XL04 Enforceability; Successors and Assigns. This
                                                                            Agreement shall be binding on and inure to the benefit of, and
[This provision may vary from the requirements of MLBR
                                                                            shall be enforceable by, the respective successors and permitted
4001-2(c)(7) to the extent of creating priming or senior liens
                                                                            assigns of the Parties. No Debtor may assign any DIP Loan
without the consent of existing lienholders.)
                                                                            Document without the DIP Lender’s prior written consent. Any
                                                                            such alleged assignment shall be void ab initio and shall not
 Section X.04       Further Assurances. The Debtor further                  relieve the Debtor of any obligation thereunder.
 agrees that, if requested by the DIP Lender, it shall enter into any
 separate security agreement, control agreement, pledge                     Section XL05 Integration. The DIP Loan Documents contain
 agreement, or other similar documentation or instrument with               and constitute the entire agreement of the Parties with respect to
 respect to any DIP Collateral that the DIP Lender may request,             the subject matter thereof and supersede all prior negotiations,
 all expenses of which incurred by the DIP Lender shall constitute          agreements, and understandings, whether written or oral.
 DIP Lender Expenses.
                                                                            Section XI.06 No Waiver: Remedies Cumulative. No failure
                                                                            or delay by the DIP Lender in exercising any right, power, or
                                                                            privilege hereunder shall operate as a waiver thereof A single or
                                                                            partial exercise of any right, power, or privilege shall not
                                                                            preclude any other or further exercise of the same or another

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right, power, or privilege. The rights and remedies provided in        circumstances for purposes of this Agreement. The Parties agree
the DIP Loan Documents shall be cumulative and not exclusive           that any claim of unenforceability, force majeure, or other claim
of any right or remedy provided by law or equity or otherwise          and/or defense related to the foregoing (including with respect to
available.                                                             any court closure) is expressly waived: provided lhal the Budget
                                                                       may be adjusted related to any such issues.
Section XI.07 Submission to Jurisdiction. Each Party agrees
that any action with respect to any DIP Loan Document shall be         Section XI. 14 Execution in Couiiternarts. Each DIP Loan
brought exclusively in the Bankruptcy Court and unconditionally        Document may be executed, including electronically, in any
submits to the Bankruptcy Court’s jurisdiction regarding the           number of counterparts and by different Parties on separate
same.                                                                  counterparts, each of which, when executed and delivered, shall
                                                                       be deemed to be an original, and all of which, when taken
Section XI.08 Governing Law. The DIP Loan Documents,
                                                                       together, shall constitute but one and the same DIP Loan
and any dispute arising therefrom, shall be governed by the
                                                                       Document.
Bankruptcy Code and, to the extent not preempted thereby. New
York state law. This Agreement constitutes an instrument for the                         ARTICLE XII
payment of money only, within the meaning of N.Y. C.P.L.R.                        BANKRUPTCY COURT APPROV AL
§3213. Any reference herein to the “Uniform Commercial
Code” refers to the New York Uniform Commercial Code as in             Section XII.Ol           DIP Financing Motion. The approval
effect from time to time.                                              of the Bankruptcy Court is required for this Agreement and the
                                                                       transaction contemplated herein. Within three Business Days
Section XI.09 WAIV ER OF JURY TRIAL. EACH PARTY                        after execution of this Agreement, the Borrower shall file a
HERETO IRREVOCABLY AND UNCONDITIONALLY                                 motion or motions with the Bankruptcy Court seeking, on an
WAIVES, TO THE FULLEST EXTENT PERMITTED BY                             expedited basis, entry of the DIP Orders approving this
APPLICABLE LAW, ANY RIGHT TO TRIAL BY JURY IN                          Agreement and the consummation of the transaction
ANY DISPUTE ARISING FROM THIS AGREEMENT.                               contemplated hereby (the “DIP Financing Motion”).
Section XI.IO Severability. If any term of any DIP Loan
Document is held invalid, illegal, or incapable of being enforced      Section XII.02             The DIP Orders shall be in form and
by any rule of law or public policy, all terms of such DIP Loan        substance acceptable to the Lender, and in all events shall
Document shall remain in full force and effect so long as the          provide for all necessary and customary provisions, findings and
economic or legal substance of the transactions contemplated           holdings, including that the Lender is a good faith party entitled
thereby is not affected in any manner adverse to any party             to the protections afforded by Bankruptcy Code Section 364(e).
thereto. Upon such holding, the Parties shall negotiate in good        in the event of any inconsistencies or ambiguities between this
faith to modify the same such that the transactions contemplated       Agreement and the DIP Orders, the terms of the DIP Orders shall
thereby are fulfilled to the maximum extent possible.                  govern. The interim DIP Order shall be entered by the
                                                                       Bankruptcy Court within fourteen (14) days of the filing of the
SectionXI.il Survival. All representations, warranties,                DIP Financing Motion. The final DIP Order shall be entered
covenants, and agreements made by the Debtor in any DIP Loan           within thirty (30) days after the entry of the interim DIP Order.
Document shall survive until full and indefeasible payment of all
DIP Obligations, irrespective of any earlier default. Event of                                         *
Default, acceleration, or termination thereunder; provided that
Article VH! and Section 11.3 shall survive such full and
indefeasible payment of all DIP Obligations.
Section XI.12 Maximum Lawful Interest. Notwithstanding
anything to the contrary herein, in no event shall the amount of
interest and other charges for the use of money payable under
this Agreement exceed the maximum amounts permissible under
any law that a court of competent jurisdiction shall, in a final and
non-appealable order, deem applicable. The Debtor and the DIP
Lender, in executing and delivering this Agreement, intend
legally to agree on the rate or rates of interest and other charges
for the use of money and manner of payment permitted by such
law; provided that, if such amount exceeds such maximum
allowable amount, then the Debtor is and shall be liable only for
the payment of such maximum as allowed by law, and payment
received from the Debtor in excess of such legal maximum shall
be applied to reduce the principal balance of the DIP Loans to
the extent of any such excess.
Section XL 13 Foreseeable Circumstances. The Parties
acknowledge that (x) the COVID-19 pandemic any/or other
instances of pandemic or widespread virus or infection and (y)
ongoing riots, insurrections, terrorist acts, and/or other domestic
unrest and uncertainty shall not be considered unforeseeable
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IN WITNESS WHEREOF, the Parties have caused this
Agreement to be executed by their respective authorized
signatories as of the date first written above.
DEBTOR:       ________ _
TpPliNE            :TE DESIGN INC.
By:              ^
Name: Edmilson R^mos
Title: President
DIP LENDER:
LEGALIST, INC., solely in its capacity as investor adviser to the
investment fund(s) listed on Addendum 1


By:
Name: Brian T. Rice
Title: Chief Operating Officer




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IN WITNESS WHEREOF, the Parties have caused this
Agreement to be executed by their respective authorized
signatories as of the date first written above.
DEBTOR:
TOP LINE GRANITE DESIGN INC.
By:
Name: Edmilson Ramos
Title: President
DIP LENDER:
LEGALIST, INC., solely in its capacity as investor adviser to the
investment fund(s) listed on Addendum 1


By:
Name: Brian T. Rice
Title: Chief Operating Officer




                                                                    9
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                                                              Exhibit A
                                                     (Form of Borrow ing Request)
Legalist DIP Fund I, LP
c/o      Legalist, Inc. (dip@legalist.com)
RE:      In re Top Line Granite Desisn Inc.. Case No. 22-40216
Ladies and Gentlemen:
This Borrowing Request is delivered to you pursuant to Article III of the Debtor-in-Possession Term Loan Credit Agreement, dated as
of              (as in effect from time to time, the “Credit Agreement'’), among Top Line Granite Design Inc. (the “Debtor”) and the
addressee(s) hereof (the “DIP Lender”). The Debtor acknowledges that this Borrowing Request is a DIP Loan Document for all purposes.
Capitalized term used but not defined herein have the meanings given to them in the Credit Agreement.
The Borrower hereby requests that a DIP Loan be made to it in the aggregate principal amount of $             (the “DIP Draw”).
The Debtor hereby acknowledges that, pursuant to Credit Agreement Section 3.01 (v), each of the representations and warranties set
forth in the Credit Agreement and in each other DIP Loan Document shall be true and correct as of the date hereof, except to the extent
that any such representation or warranty expressly relates to an earlier date, in which case each such representation and/or warranty shall
have been true and correct as of such earlier date. The Debtor agrees that if, at any time prior to the time the DIP Draw is funded by the
DIP Lender, any matter certified to herein by it will not be true and correct in all material respects at such time as if then made, it will
immediately so notify the DIP Lender.
Please wire transfer the proceeds of the DIP Draw as follows:
Account Name:________________________________________
Bank:________________________________________________________
ABA (for wires):______________________________________
Account No.:__________________________________________
Beneficiary Address:


Phone No. (Debtor):


Very truly yours,
TOP LINE GRANITE DESIGN INC
By:
Name: Edmilson Ramos
Title: President
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                                   Exhibit B
                                   (Budget)
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TOP LINE GRANITE                                (5/n/22|
DESIGN

DIP Loan Tenn / Maturity Date: Up to 2 years

Lender; Legalist



DIP Draws                                              Interim Funding                      Final Funding       M


SOURCES
DIP proceeds                                                           400,000.00     $            600,000.00
Total Receipts                                   $                      400,000.00     $           600,000.00


USES



Purchase of supplies / materials for new
                                                                       300,000.00     $            495,278.01
projects (various suppliers)


                                                                                       See other potential
                                                 See potential work in
                                                                                      work in progress
                                                progress list below
                                                                                      list below

Pre-Petition - Past Due Payroll                  $                       50,152.00     $           104,722.00
Reclamation claim - Hyqualihi' Tools                                       6,722.00    $

Cure cost for lease assumption (pre-petition)                             14,937.60    $

Unpaid lease payment post-petition                                       28,188.39
                                                                                                                 Balance or unused amount, if any,
                                                                                                                may be used as working capital as
Working capital                                                                        $                        permitted under the DIP Credit
                                                                                                                Agreement.

Total Use of DIP Proceeds                        $                      399,999.99     $           600,000.01



Work in progress list- Interim
Funding:

                     Quote No.                                 jProlect Name                      Company                     Salesperson                      lapestefl Start Date

                       81529                    Riverside Towners                     NEI                                       Marcelo                              22-jun

                       73481                    Terrazza - Residences at Wellesley    Power Company                            Carol line                             22-Jul

                      81738                     The Pond Units                        Universal                                 Alysson          •*:

                       78260                    249 Corey Rd                          Power Company                            Carol line                            22-Aub

                       78160                    86 Essex                              Power Company                            Caroline                .   -'li-     22-Aug

                       75212                    7-9Centra>                            Power Company                            Carol line                            22-Aug


Total: $978,962.00


Other potential work in
progress - Final Funding:


                     Quote No.                                 Project Name                       Company                   __ Sa|_8sperson                   Expected Start Date
                                                                                                                                              A*-!

                                                Ellis St Commons                      KEITH                                     Marcelo                              22-Nov

                                                Summerfieid Townhouses                NEI                                       Marcelo                               22-0e:c
                                                                                                                                                                                 m
                       82072                    2Life - Opus                          Dellbrook                                 Carolline                             22-Dec

                                                Dale SardQ                            Dale Sardo                                  Lucy                                22-Jui




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TOP LINE GRANITE                                (5/13/22)
DESIGN

DIP Loan Terni / Maturity Date: Up to 2 years

Lender: Legalist


                    81161                       Saab                   Opechee Construction    Lucy       22-Jut

                    33320                       132 Fariow             DiPierro                Lucy       22-JUl

                    82759                       Mazda Portsmouth       Aubln                  Marcelo     22-Oct


Total: $1,708,000
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                                                    Addendum 1
                                          (Allocation of DIP Commitment)
•   Legalist DIP Fund I, LP: 100%




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                                   EXHIBIT B

                           (Proposed Interim DIP Order)




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                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MASSACHUSETTS


    In re:

    TOP LINE GRANITE DESIGN INC.,                                   Chapter 11

                                                                    Case No. 22-40216 (EDK)

              Debtor.


    INTERIM ORDER (i) AUTHORIZING THE DEBTOR TO OBTAIN POSTPETITION
       FINANCING, AND (ii) GRANTING SUPERPRIORITY CLAIM, SECURITY
              INTEREST, AND PRIMING LIEN TO THE DIP LENDER

             Upon the motion (the “Motion”) 1 of the above-captioned debtor (the “Debtor”) in this

chapter 11 case (the “Case”) seeking entry of an interim order (this “Interim DIP Order”), inter

alia:

             1.     Authorizing the Debtor (i) to obtain post-petition financing, consisting of senior

secured superpriority term loans (the “DIP Loans”) in an aggregate maximum amount of

$1,000,000.00 (the “DIP Commitment”) from certain investment fund(s) for which Legalist, Inc.,

as investment adviser and DIP lender (the “DIP Lender”), as provided in that certain Debtor-in-

Possession Term Loan Credit Agreement, dated as of May 13, 2022, among the Debtor and the

DIP Lender (the “DIP Credit Agreement”), attached hereto as Exhibit A, (ii) to borrow

$400,000.00 of the DIP Commitment on an interim basis, and (iii) to incur the DIP Obligations

contemplated thereby;




1
 Capitalized terms used herein but not defined shall have the meanings given to them in the Motion or the DIP Credit
Agreement, as applicable.
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       2.      Authorizing the Debtor to execute and enter into, and to perform all acts necessary

or desirable to consummate the transactions contemplated by, the DIP Credit Agreement and other

DIP Loan Documents;

       3.      Authorizing the Debtor to use the proceeds of the DIP Loans, as permitted in the

DIP Loan Documents;

       4.      Providing that all DIP Obligations shall, pursuant to sections 364(c) and (d), as

applicable, of title 11 of the United States Code (the “Bankruptcy Code”) constitute DIP Claims,

payable from and having recourse to all property of the Debtor’s estate as set forth herein and in

the DIP Credit Agreement;

       5.      Authorizing the Debtor to grant the DIP Lender automatically perfected DIP Liens

(as defined below) in all DIP Collateral to secure pay of all DIP Obligations, comprising:

                (i)     Pursuant to Bankruptcy Code section 364(c)(2), senior DIP Liens on all DIP
Collateral not subject to Existing Liens;

               (ii)    Pursuant to Bankruptcy Code section 364(c)(3), junior DIP Liens on all DIP
Collateral subject to Existing Liens;

               (iii) Pursuant to Bankruptcy Code section 364(d)(1), equal DIP Liens on all DIP
Collateral subject to Existing Liens; and

               (iv)    Pursuant to Bankruptcy Code section 364(d)(1), senior DIP Liens on all DIP
Collateral subject to Existing Liens;

       6.      Vacating and/or modifying the automatic stay, pursuant to Bankruptcy Code

section 362, to the extent necessary to (x) consummate the transactions contemplated by the DIP

Loan Documents and (y) permit the DIP Lender to exercise any right or remedy provided therein;

and

       7.      Granting the Debtor such other and further relief as is just and proper; and




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       The Court having held an interim hearing on the Motion on May [__________], 2022 [and

considered any objection to the Motion], and good cause appearing therefor, it is hereby FOUND

and CONCLUDED that:

       A.      On March 25, 2022 (the “Petition Date”), the Debtor filed a voluntary petition in

this Court for relief under Bankruptcy Code chapter 11;

       B.      This Court has jurisdiction over the Case and the Motion under 28 U.S.C. §§ 157(b)

and 1334, this matter is a core proceeding under 28 U.S.C. § 157(b)(2), venue is proper under 28

U.S.C. §§ 1408 and 1409, and the Court has authority to enter this Interim DIP Order consistent

with §§ 105, 361, 362, 363, 364, 503, and 507 of the Bankruptcy Code; Rules 2002, 4001, 6004,

and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”); and MLBR

4001-2, and 9013-1(g) .

       C.      An immediate and ongoing need exists for the Debtor to obtain postpetition

financing in the amount of the DIP Commitment to reorganize under Bankruptcy Code chapter 11,

and the Debtor does not otherwise have sufficient funds available to make certain necessary

payments as set forth in the Motion;

       D.      The Debtor is unable to obtain unsecured credit under Bankruptcy Code section

503 or other postpetition financing in the amount of the DIP Commitment on terms more favorable

than those provided by the DIP Lender;

       E.      Sufficient and adequate notice of the Motion and entry of this Interim DIP Order

has been given under Bankruptcy Code section 364 and Bankruptcy Rules 2002 and 4001, such

that no other or further notice of the Motion or entry of this Interim DIP Order is needed;

       F.      The terms of the DIP Loans, as set forth in the DIP Loan Documents, have been

negotiated in good faith and at arm’s length between the Debtor and DIP Lender, and the DIP




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Lender is entitled to the protections of Bankruptcy Code section 364(e) with respect to all DIP

Loans, DIP Liens, DIP Claims, DIP Obligations, DIP Loan Documents, and rights and remedies

of the DIP Lender;

       G.      The terms of the DIP Loans, as set forth in the DIP Loan Documents, are fair and

reasonable and reflect the Debtor’s exercise of its prudent business judgment consistent with its

fiduciary duties, and the DIP Lender has provided fair, adequate, and sufficient consideration that

constitutes reasonably equivalent value for the DIP Liens, DIP Claims, and all other rights,

protections, and benefits obtained by it under any DIP Loan Document;

       H.      Entry of this Interim DIP Order is in the best interests of the Debtor’s estate and its

various stakeholders because it will, inter alia, allow the Debtor to reorganize under Bankruptcy

Code chapter 11; and

       I.      The DIP Lender is willing to provide the DIP Loans to the Debtor, but only on the

terms of the DIP Loan Documents.

       WHEREFORE, it is hereby ORDERED that the motion is GRANTED in accordance

with the terms and conditions set forth in this Order and:

       1.      [Any remaining objection to the Motion or entry of this Final order is hereby

Overruled.]

       2.      The execution and delivery of the DIP Credit Agreement and all other DIP Loan

Documents by the Debtor is authorized and approved, and the Debtor is authorized and empowered

to (x) execute and deliver to the DIP Lender all other documents and instruments necessary or

desirable to consummate the transactions contemplated thereby, (y) take all other actions necessary

or desirable to carry out the intent and purpose of the DIP Loan Documents, and (z) otherwise

comply with the DIP Loan Documents and all requests of the DIP Lender thereunder.




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         3.    The Debtor is authorized to borrow on an interim basis $400,000.00 of the DIP

Commitment in one or more DIP Draws on the terms of the DIP Loan Documents, without

application to or further order by the Court.

4.       All interest, fees, and expenses (expressly including all DIP Lender Expenses)

contemplated by the DIP Loan Documents are authorized to be incurred by the Debtor as DIP

Obligations and approved for payment as DIP Claims during this interim period, without

application to or further order by the Court. [This provision may vary from the requirements

of MLBR 4001-2(c)(12).]

         5.    All DIP Obligations, pursuant to Bankruptcy Code sections 364(c) and (d), as

applicable, constitute DIP Claims, payable from and having recourse to all property of the Debtor’s

estate (expressly including all DIP Collateral); provided that the DIP Lien shall not attach to any

avoidance powers held by the Debtor or any trustee for the Debtor, including those avoidance

power set forth in sections 544, 545, 547, 548, 549, 550, 551, or 553 of the Bankruptcy Code, or

to the proceeds of any claims under or actions commenced pursuant to such powers.

         6.    The DIP Lender holds security interests in and liens on all DIP Collateral, which

the Debtor has (to the extent of its right, title, and interest therein) assigned and conveyed as

security, hypothecated, mortgaged, pledged, and set over and unto the DIP Lender, and which have

been automatically perfected notwithstanding any notice or recordation requirements of non-

bankruptcy law (collectively, the “DIP Liens”), comprising:

                (i)     Pursuant to Bankruptcy Code section 364(c)(2), senior DIP Liens on all DIP
Collateral not subject to Existing Liens;

               (ii)    Pursuant to Bankruptcy Code section 364(c)(3), junior DIP Liens on all DIP
Collateral subject to Existing Liens;

               (iii) Pursuant to Bankruptcy Code section 364(d)(1), equal DIP Liens on all DIP
Collateral subject to Existing Liens; and



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               (iv)    Pursuant to Bankruptcy Code section 364(d)(1), senior DIP Liens on all DIP
Collateral subject to Existing Liens. [This provision may vary from the requirements of MLBR
4001-2(c)(7) to the extent of creating priming or senior liens without the consent of existing
lienholders.]

       7.      The proceeds of the DIP Loans shall be used by the Debtor as set forth in the DIP

Credit Agreement; provided that no portion of the DIP Loans shall be used for fees, costs, or

expenses incurred by any party in (x) investigating or pursuing any claim or cause of action against

the DIP Lender, any Affiliate thereof, or any other Indemnified Person or (y) questioning or

challenging, or taking any other action that could reasonably be expected otherwise to impair, any

DIP Loan, DIP Lien, DIP Claim, DIP Obligation, DIP Loan Document, or right or remedy of the

DIP Lender.

       8.      So long as any DIP Obligation remains outstanding, the Debtor shall perform each

covenant contained in the DIP Loan Documents (other than those covenants that, under the DIP

Loan Documents, shall survive full and indefeasible payment of the DIP Obligations).

       9.      The DIP Loans shall mature, and all DIP Obligations shall be immediately due and

payable upon the Maturity Date.

       10.     An Event of Default shall exist during the occurrence and continuation of each of

the events so identified in the DIP Loan Documents. [This provision may vary from the

requirements of MLBR 4001-2(c)(9) and (13).]

       11.     Notwithstanding Bankruptcy Code section 362, while any Event of Default has

occurred and is continuing, the DIP Lender may immediately, without further order of or

application to the Bankruptcy Court:

               (i)     Declare the DIP Commitment terminated; and

              (ii)    Declare all DIP Obligations immediately due and payable, without the
requirement of presentment, demand, protest, or any other notice, all of which are waived by the
Debtor.



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       12.     Furthermore, while any Event of Default has occurred and is continuing, the DIP

Lender may move or apply to the Bankruptcy Court for entry of an order:

       (i)     Terminating the automatic stay with respect to any DIP Collateral. [This provision

       may vary from the requirements of MLBR 4001-2(c)(5).]

       (ii)    Appointing an examiner or chapter 11 trustee (other than the Subchapter V trustee).

       (iii)   Converting the Debtor’s Case to chapter 7.

Provided that, if the DIP Lender so moves or applies, the Debtor shall be limited to contesting

solely whether the Event of Default has occurred and/or is continuing, and the Debtor has expressly

waived the right to contest such relief whatsoever beyond the foregoing limitation.

       13.     In addition to the rights and remedies enumerated in Paragraphs 11 and 12, the DIP

Lender shall be entitled, while any Event of Default has occurred and is continuing, to pursue all

rights and remedies available to it under the Bankruptcy Code (whether as a creditor, party in

interest, or otherwise) or as a secured party under the Uniform Commercial Code. For the

avoidance of doubt, all costs incurred by the DIP Lender in connection with any default or Event

of Default under any DIP Loan Document shall constitute DIP Lender Expenses and DIP

Obligations for all purposes.

       14.     In consideration of the DIP Lender’s consent to the payments of certain

administrative expenses of the Debtor’s estate as set forth in the budget attached to the DIP

Financing Agreement, the DIP Lender is entitled to a full and complete waiver, with respect to all

parties, of Bankruptcy Code section 506(c) and in no event shall any the DIP Lender or DIP

Collateral be subject to any “surcharge” or the doctrine of “marshalling” by any party in any way

whatsoever. [This provision may vary from the requirements of MLBR 4001-2(c)(4).]




                                                7
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       15.     The automatic stay imposed by Bankruptcy Code section 362(a) is and shall remain

modified to the extent necessary to implement and effectuate in full this Interim DIP Order and

the other DIP Loan Documents (expressly including any exercise of rights and remedies by the

DIP Lender) and the transactions contemplated thereby.

       16.     Any stay, modification, reversal, or vacation of this Interim DIP Order shall not, in

any way whatsoever, affect any DIP Loan, DIP Lien, DIP Claim, DIP Obligation, other DIP Loan

Document, or right or remedy of the DIP Lender. Notwithstanding any such stay, modification,

reversal, or vacation, all DIP Loans, DIP Liens, DIP Claims, DIP Obligations, other DIP Loan

Documents, and rights and remedies of the DIP Lender made, available, and/or in effect prior to

the effective date of such stay, modification, reversal, or vacation shall be governed in all respects

by this Interim DIP Order as originally entered by the Court. The DIP Lender is entitled to and

shall have in all cases the protections of Bankruptcy Code section 364(e) with respect to all DIP

Loans, DIP Liens, DIP Claims, DIP Obligations, other DIP Loan Documents, and rights and

remedies and shall be so protected notwithstanding any stay, modification, reversal, or vacation of

this Interim DIP Order.

       17.     This Interim DIP Order shall survive entry of any order, in this Court or any other

court of competent jurisdiction, (w) confirming a chapter 11 plan (and, to the extent not satisfied

in full in cash on the Maturity Date, the DIP Obligations shall not be discharged under or by entry

of such order, notwithstanding Bankruptcy Code section 1141(d)), (x) appointing an examiner or

chapter 11 trustee, (y) converting the Case to a case under Bankruptcy Code chapter 7, or

(z) dismissing the Case. This Interim DIP Order, together with all DIP Loans, DIP Liens, DIP

Claims, DIP Obligations, other DIP Loan Documents, and rights and remedies of the DIP Lender




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shall continue in full force and effect, notwithstanding the entry of any such order, until full and

indefeasible payment of all DIP Obligations.

       18.     Nothing on this Order shall affect the Cash Collateral order previously entered by

this Court or post-petition liens granted pursuant to such prior order, except that such post-petition

liens shall be subject to the DIP Lien.

       19.     In the event of any inconsistency between any other DIP Loan Document and this

Interim DIP Order, the terms hereof shall govern.

       20.     The final hearing on the Motion is hereby scheduled for [              ],   2022     at

       :          .m. Any party in interest objecting to the relief requested in the Motion shall file

a written objection with the Clerk of the Court (and serve such objection on counsel to the Debtor,

the Subchapter V trustee, and US Trustee’s office, and the DIP Lender as set forth in the Debtor’s

certificate of service) no later than 4:00 p.m. (Eastern time) on May [       ], 2022. [The final

hearing will be held by telephone. To participate, parties shall dial [                       ]   and

enter ACCESS CODE [                       ].

       21.     The Debtor shall serve, by United States mail, first-class postage prepaid, or other

appropriate method of service, notice of the entry of the interim DIP Order and of the final hearing

on (a) the parties having been given notice of the Motion, and (b) any party which has filed prior

to such date a request for notices with this Court.

       22.     Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h), 7062, and 9014, or

anything else in the Bankruptcy Rules or any other applicable rule of procedure, this Interim DIP

Order shall be valid, take full effect, and be enforceable immediately upon entry hereof. There

shall be no stay of execution or effectiveness of this Interim DIP Order, all of which are hereby

waived for cause shown.




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       23.    The Court has and shall retain jurisdiction to enforce this Interim DIP Order,

including to hear any motion or application by the DIP Lender related hereto or to any other DIP

Loan Document, according to its terms.



Dated: May      , 2022


                                            ELIZABETH D. KATZ
                                            UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit A

                              (DIP Credit Agreement)




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